     Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 1 of 70 Page ID #:1



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      of Corrections and Rehabilitation, R. Diaz,
 9    K. Oglesby and C. Tampkins
10                      IN THE UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                  EASTERN DIVISION
13
14    ARDELL MCDUFFIE; DANIEL                     Case No.: 5:21-cv-00824
      CESARIO RAMIREZ, and
15    DEMETRIUS ROGERS,                         NOTICE OF REMOVAL OF
                                                ACTION UNDER 28 U.S.C. §
16                                  Plaintiffs, 1441(a); REQUEST FOR
                                                SCREENING ORDER UNDER 28
17                v.                            U.S.C. § 1915A(a); AND REQUEST
                                                FOR EXTENSION OF TIME
18
      CALIFORNIA DEPARTMENT OF                    [Removed from the Superior Court
19    CORRECTIONS AND                             of California, County of Riverside,
      REHABILITATION; STATE OF                    Case No. CVRI 2101568]
20    CALIFORNIA; CDCR
      SECRETARY RALPH DIAZ, in his
21    individual and official capacities;
      WARDEN CYNTHIA Y.
22    TAMPKINS, in her individual and
      official capacities; KERRY
23    OGLESBY, in her individual and
      offical capacities; and DOES 1-100
24    inclusive.,
25                                Defendants.
26
27         TO THE CLERK OF THE COURT:
28
                                              1
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 1         PLEASE TAKE NOTICE that that pursuant to 28 U.S.C. §§ 1331, 1441, and
 2    1446, Defendants California Department of Corrections and Rehabilitation, R.
 3    Diaz, K. Oglesby and C. Tampkins (“Defendants”) remove to this Court the state-
 4    court action described below.
 5                                THE REMOVED ACTION
 6         1. On March 29, 2021, Plaintiffs filed an action in the Riverside County
 7    Superior Court, entitled Ardell McDuffie, et al. v. California Department of
 8    Corrections and Rehabilitation, et al., Case Number CVRI 2101568. A copy of the
 9    complaint is attached as Exhibit A. A copy of the documents served on Defendants
10    is attached as Exhibit B.
11         2. Defendant State of California first received the complaint in this matter
12    when it arrived by personal service at Defendants’ counsel’s office on April 14,
13    2021. All Defendants who have been served in this matter consent to removal.
14                           STATEMENT OF JURISDICTION
15         3. This Court has original jurisdiction over “all civil actions arising under the
16    Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. This Court
17    also has supplemental jurisdiction over “all other claims that are so related to claims
18    in the action within such original jurisdiction that they form part of the same case or
19    controversy under Article III of the United States Constitution.” 28 U.S.C. §
20    1367(a).
21         4. Plaintiffs McDuffie, Ramirez, and Rogers are state prison inmates.
22    (Compl. ¶ 1.) The complaint alleges that prison staff did not do enough to prevent
23    the spread of COVID-19 at California Rehabilitation Center, and that Plaintiffs
24    contracted COVID-19. (Id. ¶¶ 1-2.) Plaintiffs specifically assert causes of action
25    for “Conditions of Confinement — Eighth Amendment,” “Conditions of
26    Confinement — Fourteenth Amendment,” and “Monell Liability,” all under 42
27    U.S.C. § 1983. (Id. at 13-19.) This Court has original jurisdiction over those
28
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     Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 3 of 70 Page ID #:3



 1    claims because they arise under the laws of the United States and the United States
 2    Constitution.
 3          5. Plaintiffs further assert state-law claims for “Dangerous Condition of
 4    Public Property,” “Negligence,” and “Negligent Infliction of Emotional Distress.”
 5    (Id. at 20-25.) Those claims are based on the same facts as Plaintiffs’ federal-law
 6    claims, and accordingly this Court has supplemental jurisdiction under 28 U.S.C. §
 7    1367(a).
 8                                           VENUE
 9          6. Venue is proper in the United States District Court for the Central District
10    of California, Eastern Division, because Plaintiffs filed their complaint in the
11    Superior Court of the State of California, County of Riverside. 28 U.S.C. §§
12    1446(a), 84(b), General Order No. 21-01 § I.B.1.b.
13                                  NOTICE TO PLAINTIFF
14          7. In compliance with 28 U.S.C. § 1446(d), Defendants will promptly provide
15    written notice of this removal to Plaintiff and file a copy of this Notice of Removal
16    with the clerk of the Riverside County Superior Court.
17          REQUEST FOR SCREENING ORDER AND EXTENSION OF TIME
18          8. Defendants request that the Court screen the complaint for cognizable
19    claims under 28 U.S.C. § 1915A and dismiss the claims that are frivolous or
20    malicious, fail to state a claim upon which relief can be granted, or seek monetary
21    relief from a defendant who is immune from such relief. 28 U.S.C. § 1915A(b)(1)-
22    (2). In the event any part of the complaint survives screening, Defendants
23    respectfully request thirty days from the date of service of the screening order to
24    file a responsive pleading.
25    ///
26    ///
27    ///
28
                                                3
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 1    Dated: May 10, 2021                      Respectfully submitted,
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 4
                                               /s/ Jeremy Duggan
 5
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 7                                             State of California, California
                                               Department of Corrections and
 8                                             Rehabilitation, R. Diaz, K. Oglesby
                                               and C. Tampkins
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            EXHIBIT A
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 8   DEMETRIUS ROGERS



                            SUPERIOR COURT OF STATE OF CALIFORNIA
11
                                     FOR THE COUNTY OF RIVERSIDE
12

13

14   ARDELL MCDUFFIE; DANIEL CESARIO                Case No.:      CVRI 21 0·1 5 6·a
     RAMIREZ; and DEMETRIUS ROGERS;
15                                                  COMPLAINT FOR DAMAGES:
                           Plaintiffs,
16                                                        (1) 42 u.s.c. § 1983;
            vs.
17                                                        (2) 42 U.S.C. § 1983 [MONELLLIABIUTYJ;
     CALIFORNIA DEPARTMENT OF
18   CORRECTIONS AND REHABILITATION;                      (3) DANGEROUS CONDITION ON PUBLIC
     STATE OF CALIFORNIA; CDCR                                PROPERTY [GOV. CODE§ 835];
19   SECRETARY RALPH DIAZ, in his
     individual and official capacities; WARDEN           (4) NEGLIGENCE; and
20   CYNTHIA Y. TAMPKINS, in her individual
     and official capacities; KERRY OGLESBY, in           (5) NEGLIGENT INFLICTION OF
21   her individual and official capacities; a11d             EMOTIONAL DISTRESS
     DO ES 1- l 00 inclusive,
22
                           Defendants.              DEMAND FOR JURY TRIAL
23

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                                         COMPLAINT FOR DAMAGES
           Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 7 of 70 Page ID #:7



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                                                       COMPLAINT FOR DAMAGES
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             Plaintiffs ARDELL MCDUFFIE, DANIEL CESARIO RAMIREZ, and DEMETRIUS ROGERS
 2    (collectively, "Plaintiffs), by and through their attorneys, Shegerian & Associates, Inc., hereby file this
 3    Complaint against Defendants CALIFORNIA DEPARTMENT OF CORRECTIONS                                    AND
 4    REHABILITATION; STATE OF CALIFORNIA; CDCR SECRETARY RALPH DIAZ, in his
 5    individual and official capacities; WARDEN CYNTHIA Y. TAMPKJNS, in her individual and official
 6    capacities; KERRY OGLESBY, in her individual and official capacities; and DOES 1-100 inclusive,
 7    (collectively, "Defendants")~ and states as follows:
 8                                                 I.    INTRODUCTION
 9           1.          Plaintiffs are and/or were inmates at the California Rehabilitation Center ("CRC") in
JO    Norco, California in Riverside County when the novel coronavirus disease 2019 ("COVID~l9") began
11    spreading at SQSP. All Plaintiffs contracted COVID-19 while housed at CRC and continue to have
12    lingering symptoms since recovering from COVID-19.
13           2.          Despite the danger of the spread of COVID" 19 at CRC, Defendants failed to implement
14    policies and procedures to prevent the spread of COVID-19 in CRC.
15                                        II.      PARTIES AND JURISDICTION
16           3.          Plaintiffs ARDELL MCDUFFIE, DANIEL CESARIO RAMIREZ, and DEMETRIUS
17    ROGERS are persons who, at all times relevant to this Complaint, were domiciled in California and wei·e
18   . inn'lates   at the Califomia Rehabilitation Center ("CRC') in Norco, California, within Riverside County.·
19           4.          Plaintiffs are informed and believe and thereon allege that Defendant STATE OF
20    CALIFORNIA (hereinafter "STATE") is responsible for the actions, omissions, policies, procedures,
21    practices, and customs of its various employees, agents and agencies, including the CALIFORNIA
22    DEPARTMENT OF CORRECTIONS AND REHABILITATION (hereinafter "CDCR'), and their
23    agents and employees, and are sued pursuant to the California Tort Claims Act, California Government
24    Code sections 910, et seq. for the acts and omissions of the individually named and fictitiously named
25    public employees and agents, and each of them. At aH times relevant to the acts alleged herein, Defendant
26    STATE was responsible for assuring that the actions, omissions, policies, procedures, practices and
27    customs of the CDCR, their employees and agents> as well as its own employees and agents, complied
2s    with the laws of ST ATE of California and the Constitution of the United States.


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                                                COMPLAINT Jl'OR .DAMAGES
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           5.        Plaintiffs are informed and believe and thereon allege that Defendant CDCR is the chief
 2   law enforcement agency for Defendant STATE. Defendant CDCR is also in charge of, and l'esponsible
 3   for, the prison housing of all persons convicted of crimes, serving a state prison sentence.
 4         6.        TI1e CDCR operates and manages STATE prison facilities, a11d is, and was at all times
 5   mentioned herein, responsible for the actions and/or inactions and the policies, procedures and
 6   practices/customs of CRC. By incarcerating individuals and depriving them of the ability to care for and
 7   protect themselves, CDCR created and mai11tained a special relationship with its inmates and is
 8   responsible for ensuring the safety of the inmates incarcerated or detained in its facilities.
 9        7.        Plaintiffs are informed and believe and the1·eon allege that Defendant, RALPH DIAZ
Io   ("DIAZ"), is an individual domiciled in California, and was, at all times l'elevant hereto, employed as the
11   Secretary of the CDCR, acting under the color of law and in the course and scope of his employment for
12   Defendant STATE. He was charged by law and was responsible for the administration of Defendant
13   CDCR and for the supervision, tmining and hiring of persons, age11ts and e1nployees working within.
14   CDCR, including but not limited to wal.'dens and con·ectional officers. Defendant DIAZ is and was
Is   fesporisible for the promulgation of the policies and procedures and allowances of the practices/customs
16   pursuant to which the acts of the employees of CRC alleged herein were committed. Defendant DIAZ
17   was responsible to ensure appropriate staffing levels for custodial staff were maintained at the prison
18   facilities. Defendant DIAZ and the other defendants have been deliberately indifferent to the danger of
19   the spread of cormiavirus disease 2019 ("COVID-19") within CRC, at least in part, by exceedingly
20   inadeqtiate iriinate classification procedures, and inadequate employee screening procedures. As a result
21   of this deliberate indifference1 as in this case, Plaintiffs were exposed to COVID-19. Defendant DIAZ is
22   being sued in his individual and official capacities.
23         8.       Defendant CYNTHIA Y. TAMPKINS ("TAMPKJNS") ist and was at all relevant.times
24   mentioned herein, Warden of the California Institution fot Men. Defendant TAMPKINS is and was
2S   responsible foi- the training and supe1·vision of all CRC employees and/or agents. Defendant TAMPKINS
26   is and was responsible fol' the promulgation of the policies and procedures and allowance of the
27   practices/customs p1.usuant to which the acts of the employees of CRC alleged l1erei11 were committed.
28   Defendant TAMPKINS was l'esponsible to ensure appropriate staffing levels for custodial staff were



                                          COMPLAINT FOR DAMAGES
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       maintained at CRC she commanded. Defendant TAMPKINS and the other defendants have been
 2     deliberately indifferent to the danger of the spread of COVID~l9 within CIM, at least in part, by
 3     exceedingly inadequate inmate classification procedures, and inadequate employee screening procedures.
 4     As a result ofthis deliberate indifference, as in this case, Plaintiffs were exposed to COVID~ 19. Defendant
 5     TAMPKINS is being sued in her individual and official capacities.
 6             9.       Defendant KERRY OGLESBY ("OGLESBY") is, and was at all relevant times mentioned
 7     herein, the healthcare Chief Executive Officer ofCRC. Defendant OGLESBY is and was responsible for
 8     the training and supervision of all medical staff and mu·ses at CRC. Defenda11t OGLESBY is and was
 9     responsible for the promulgation of the policies and procedures and allowance of the practices/customs
JO     pursuant to which the acts of the employees of CRC alleged herein were committed. Defendant
11    OGLESBY was responsible to ensure appropriate medical care and safe protocols for containing the
I2     spread of infectious diseases were maintained at CRC. Defendant OGLESBY and the other defendants
13    , have   been deliberately indifferent to the danger of the spread of COVID-19 within CRC. at least in patt,
14     by exceedingly inadequate inmate classification procedures, and inadequate employee sci·eening
15     procedures. As a result of this deliberate indifference, as in this case~ Plaintiffs were exposed to COVID-
16     19. Defendant OGLESBY is being sued in her individual and official capacities.
17         ld.          At all times mentioned herein, Defendants· DOES 1-20 were employed as Corrections
18    Officers for Defendant STATE. and will be referred to in this Complaint as "Corrections Officer
I9    · Defendants." Plaintiffs are ignorant of the true names and capacities of Defendants sued herein   as DOES-
20     1-20, inclusive, mtd therefore sue these Defendants by such fictitious names. Plaintiffa will amend this
21     complaint to allege their true names when ascertained. Defendants DOES 1-20 are sued individually and
22     in their capacity as corrections deputies for STATE. As part of their duties, Corrections Officer
23     Defendants DOES 1-20 screened and classified inmates and determined where they should be housed,
24     whether they should be housed with othe1· inmates, and other classification decisions. By engaging in the
25     conduct described here, Corrections Officer Defendants DOES 1-20 acted under the color of law ai1d in
26     the course and scope of their employment for Defendant STATE. By engaging in the conduct desclibed
27    ·here, Corrections Officer Defendants DOES 1-20 exceeded the authority vested in them as corrections
2s·    deputies under the United States Constitution and as employees of STATE. Corrections Officer



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       Defendants DOES 1-20 and the other defendants have been deliberately indifferent to the danger of the
 2     spread of COVIDl 9 within CRC, at least in part, by exceedingly inadequate inmate classification
 3    . procedures. As a result of this deliberate indifference, as in this case, Plaintiffs were exposed to COVID-

 4     19. Con-ections Officer Defendants DOES 1-20 are being sued in their individual and official capacities.
 5          11.        At all times mentioned herein, Defendants DOES 21-30 were employed as healthcare
 6     providers, for Defendant STATE, and wiU be referred to in this Complaint as "Healthcare Provider
 7     Defendants." Included in those duties was determination of whether inmates suffered from contagious
 8     illnesses, who would require segregation from other inmates to prevent the spread of illness among
 9     inmates within CRC. Plaintiffs are ignorant of the true names and capacities of Defendants sued herein
10     as DOES 21-30, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiffs will
11     amend this complaint to allege their tnte names when ascertained. Healthcare Provider Defendants DOES
12     21-30 are sued individually and in their capacity as healthcare providers for STATE. By engaging in the
13·    conduct described here, Healthcare Provider Defendants DOES 21-30 acted under the color of law and
I4     iit the coui·se and scope of their employment for Defendant STATE. By engaging in the conduct described
15     here, Healthcare Provider Defendants DOES 21-30 exceeded the authority vested in them as prison
16     healthcare providers under the United States Constitution and as employees of STATE. Healthcare
17     Provider Defendants DOES 21-30 and the other defendants have been deliberately indifferent to the
Is·   danger of the spread of COVID-19 within· CRC, at least iri part, by exceedingly inadequate efforts and·
19    pi·ocedtires to determine whether inmates suffered from contagious illnesses, who would require
20     segregation :froni other inmates to prevent the spread of illness among inmates within the jails. As a result
21     of this deliberate indifference, as in this case, Plaintiffs were exposed to COVID-19. Healthcare Provider
22     Defendants DOES 21-30 are being sued in their individual and official capacities.
23         12.        Plaintiffs are ignorant of the true names and capacities of Defendants sued herein as DOES
24    .31H50, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiffs will amend this
25     complaint to allege their true names and capacities when ascertained. Plaintiffs are informed and believe
26     and thereon allege that each of these fictitiously named Defendants is responsible in some manner for the
27     occurrences hereiri alleged, and that Plaintiffs injuries as herein alleged were proximately caused by the
28    aforementioned Defendants. Defendants DOES 31-50 are sued individually and in their capacity as



                                           COMPLAINT FOR DAMAGES
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     employees for STATE. By engaging in the conduct described here, Defendants DOES 31-50 acted under
 2   the color oflaw and in the course and scope of their employment for Defendant ,STATE. By engaging in
 3   the conduct described here, Defendants DOES 31-50 exceeded the authority vested in them under the
 4   United States Constitution and as employees of STATE, DOES 31-50 and the other defendants have been
 5   deliberately indifferent to the danger of the spread of COVID" 19 within CRC. As a result of this deliberate
 6   indifference, as in this case, Plaintiffs were exposed to COVID-19. Defendants DOES 31-50 are being
 7   sued in their individual and official capacities.
 8       13.        Plaintiffs are informed and believe and thereon allege that at all times herein mentioned
 9   each of the Defendants was the agent and employee of each of the remaining Defendants and~ in doing
10   the things hereinafter alleged, were acting within the course and scope of such agency and employment
I1       14,        Venue is proper pursuant to Code of Civil Procedure sections 394 and 395 because CRC
12   is located within this district, the action complained of herein occtmed in this district, and all other
13   Defendants are located in the district.
14                                       III.    GENERAL ALLEGATIONS
15       15.        The California Rehabilitation Center is a state prison located in Norco, California, with a
16   capacity ofhousing approximately 2,491 inmates.
17       16.         In December 2019, a new strain of Coronavirus known as COVID-19 was first observed
18   in humans in China. The virt.1s quickly spread through China and Asia and has caused a global pandemic.
19   Infection with COVID-19 is generally associated with symptoms such as fever, a dry cough, shortness of
20   breath, infection, pneumonia, and it can be fatal.
21       17.         Clinicians and public health expe1is continue to learn more about the virus and its effects
22   on the human body. The virus is primaiily spread by contact with virus-laden l'espiratory droplets expelled
23   while speaking, coughing. or sneezing. In addition to the cold- and flu-like symptoms, COVID-19
24   patients typically experience, the virus has been linked to loss of taste and smell, blood clots, severe
25   strokes, heart inflammation, cardiac arrest, acute kidney disease, intestinal damage, liver damage,
26   neurological problems, and even death.
27                   Research also shows that controlling the spread of COVID-19 is made even more difficult
28   because of the prominence of asymptomatic transmission-infection transmission by people who are


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                                          COMPLAINT FOR DAMAGES
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      contagious but exhibit limited or no symptoms, rendering any screening tools dependent on identifying
 2    symptomatic behavior ineffective.
 J        19,          COVID-19 has been especially dangerous in areas of close confinement1 such as cruise
 4    ships and assisted living facilities. It follows that prisons are pmticularly vulnerable to an outbreak. In
 5    fact, prisons are at an even greater risk because of their close quarters and communal living spaces.
 6        20.          On January 30~ 2020 1 the World Health Organization declared COVID-19 a global health
 7    emergency.
 8        21.          On March 4, 2020, Governor Gavin Newsom declared a State of Emergency to make
 9    additional resources available, formalize emergency actions already underway across multiple state
10    agencies and departments, and help STATE prepare for broader spread of COVID-19.
1I        22.          Because of this looming disaster, on or about March 23, 2020, the Centers for Disease
12    Control and Prevention ('"CDC") published guidance for conectional and detention facilities to prepare
13    and ptotect inmates and personnel from the COVID-19 pandemic. The CDC's guidance included the
14    following advice for preventing the spread of COVID-19 in a correctional or detention facility:
!5              •    Perform pre-intake screening and temperature checks for aH new entrants. Screening should
16                  take place in the sallyport, before beginning the intake process, in order to identify and
17                   immediately place individuals with symptoms under medical isolation;

18              •   Facilities should ensure the availability of sufficient stocks of hygiene supplies, cleaning
19                  supplies, personal protective equipment ("PPE}'), and medical supplies that are consistent

2-0                 with the facility's healthcare capabilities (this includes liquid soap, alcohol-based hand
21                  sanitizer with at least 60% alcohol, PPB including fa.cemasks and gloves, and supplies for
22                  testing, such as sterile viral transport media and sterile swabs);
23              •   Facilities should make contingency plans in the event of PPE shortages;
24              •   Facilities should provide a no-cost supply of soap to incarcerated/detained persons, sufficient
25                  to allow frequent hand washing;

26              •   Facilities should provide alcohol-based hand sanitizer containing at least 60% alcohol;
27              •   Facilities should adhere to CDC recommendations for cleaning and disinfecting during the
28                  COVID-19 response, including cleaning and disinfecting frequently touched surfaces



                                            COMPLAINT FOR DAMAGES
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                   several times per day;
 2             •   Facilities should encourage all persons in the facility to protect themselves by practicing
 3                 good cough etiquette and good hand hygiene and avoiding touching of the eyes, nose, or
 4                 mouth;
 5             •   Facilities should encourage these behaviors by posting signs throughout the facility and
 6                 communicating the information verbally on a regular basis;
 7             •   Facilities should implement physical distancing strategies to increase the physical space
 8                 between incarcerated/detained persons, ideally six feet between all individuals, regardless of

 9                 the presence of symptoms {this should include enforcing increased space between
10                 individuals in holding cells and waiting areas, staggering time in recreation spaces,
11                 staggering meals and rearranging seating in the dining hall to increase space between
12                 individuals, liming the size of group activities, and rearranging housing spaces to increase

13                 space between individuals); and

14             •   Facilities should provide inmates with information and consistent updates about COVID-19
l5                 and its symptoms.
16       23.         Despite the danger at CRC of the spread of COVIDw 19, Defendants failed to implement
17   policies and procedures to prevent the spread of COVIDw 19 in CRC, including, but not limited to, failing
18   to limit the numbers of inmates housed together, so as to create sufficient physical distancing space,

19   failing to release low-level offender inmates who were eligible for early release to create space in CRC

20   sufficient to allow for physical distancing (situating one's self at least six feet away from other
21   individuals) failing to provide inmates with facial masks, failing to adequately keep the interiors of CRC
22   clean and disinfected, failing to provide ~ufficient disinfecting cleaners; and cleaning apparatuses, failing
23   to provide alcohol based hand sanitizer, failing to provide antibacterial soaps and cleansers, failing to
24   require CRC employees to wear face masks~ failing to require CRC employees to engage in frequent
25   hand-washing and/or hand sanitizing. Defendants knew of the risk of serious harm to Plaintiffs and were

26   deliberately indifferent to that risk, disregarding it by failing to take reasonable measures to address it.

27       24.       · According to data provided by Defendant CDCR, there were no reported positive cases of

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                                            COMPLAINT FOR DAMAGES
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       COVID-19 until June 8, 2020. 1
 2               25.   As of April 16, 2020, reports surfaced that CRC had 72 confirmed cases ofCOVID-19, of
 3     which 51 were inmates and 21 were staff. According to statistics provided by Defendant CDCRi this was
 4     the largest outbreak of COVID-19 among all state prisons in Califomia. 2
 s               26.   Despite the danger in CRC of the spread of COVID-19, Defendants CDCR; STATE;
 6     CDCR SECRETARY RALPH DIAZ, in his individual and official capacities; WARDEN CYNTHIA Y.
 7     TAMPKINS; KERRY OGLESBY; and DOES 1-100 did not conduct an analysis of CRC records to
 8     identify particularly vulnerable inmates, in order to release them, or segregate them to prevent them being
 9     exposed to the virus.

10               27.   Despite the danger at CRC of the spread of COVID~ 19, Defendants CDCR; STATE;
11     CDCR SECRETARY RALPH DIAZ, in his individual and official capacities; WARDEN CYNTHIA Y.
12     TAMPKINS; KERRY OGLESBY; and DOES 1-100 did not conduct an analysis of CRC population to
13 ·   determine whether there are any low-level offender inmates who might be eligible for early release, so
14     that such inmates may be released from CRC to create additional space to allow for physical distancing.
15               28.   Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
16     official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100, failed
17     to implement policies and procedures to adequately screen for COVID~ 19. Defendants knew of the risk
18     of serious harm to Plaintiffs and were deliberately indifferent to that risk, disregarding it by failing to
l9     take reasonable measures to address that risk.
20               29.   Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ) in his individual and
2!     official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
22     to implement policies and procedures to adequately screen for COVID- 19 newly admitted individuals
23 ·   who were being brought into CRC for housing. Defendants knew of the risk of serious harm to Plaintiffs
24     and were deliberately indifferent to that risk, disregarding it by failing to take reasonable measures to
25     address it
26

27     1 https://www.cdcr.ca.gov/covidl 9/population~status-tracking/ (last   accessed January 30, 2021 ).
28     2   Id.



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                  30.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
 2        official capacities; WARDEN CYNTHIA Y. TAMPKlNS; KERRY OGLESBY; and DOES 1-100 failed
 3        to implement policies and procedures to adequately screen for COVID-19 im11ates who were housed in
 4        close proximity to other inmates. Defendants knew of the risk of serious harm to Plaintiffs and were
 s        deliberately indifferent to that risk, disregarding it by failing to take reasonable measures to address that
 6        risk.
 7                31.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
 8        official capacities; WAR.DEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
 9        to implement policies and procedures to adequately screen for COVID-19 among existing inmates who
10        were going to be re-housed in either different cells, tanks, units, or dorms, and/or existing inmates who
11        were going to be re-housed at CRC or another facility of STATE. Defendants knew of the risk of serious
12    ·   harm to Plaintiffs, and were deliberately indifferent to that risk, disregarding it by failing to take
13        teasonable measures to address it.
14                32.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his jndividual and
IS        official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
16        to implement policies and procedures to adequately screen for COVID-19 among CRC employees and/or
17    ·   agents, who would be entering the facility on a daily basis, and who would come into contact with other
18                '
          CRC employees and/or agents, as well as CRC inmates themselves. Defendants knew of the risk of
19        se1ious harm to Plaintiffs, and were deliberately indifferent to that risk, disregarding it by failing to take
20        reasonable measures to address it.
21                33.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
22        offidal capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
23.       to adequately screen for COVID-19 during the classification process of newly-arrested individuals who
24        ·were    being brought into CRC for housing.

25                34.       Healthcare Provider Defendants DOES 21-30 failed to adequately determine whether
26        inmates had COVID-19, and would require segregation from other imnates to prevent the spread of virus
27        among inmates within the jails. Healthcare Provider Defendants knew of the i'isk of serious hann to
28        Plai11tiffs 1 and- were deliberately indifferent to that risk, disregarding it by failing fo take reasonable

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         measures to address it.
 2            35.         Defendants housed imnates who were ostensibly ill with inmates who were not ill, showed
 3       no signs of illness, and had not been tested for COVID-19.
 4            36.         Plaintiffs complained to Defendants DOES 31 ~50 when an ostensibly sick inmate was
 5       brought in to be housed in their honslng units. Plaintiffs asked Defendants DOES 31-50 why a sick inmate
 6       was being housed with them. Defendants DO ES 31-50 responded with deliberate indifference, refusing
 7       to desegregate inmates with and without COVID-19 symptoms.
 8           37.          Plaii1tiffs, and other inmates who felt sick, requested to see medical staff because they felt
 9       ill, and had symptoms consistent with COVlD-19. Healthcare Provider Defendants DOES 21-30 and
10       Defendants DOES 31-50 wou1d either ignore Plaintiffs, or they would tell Plaintiffs they needed to submit
11       a medical slip request. In many cases, Defendants DOES 31-50 would not collect the slips in a timely
12       manner. When Plaintiffs and other inmates submitted requests to see medical staff, there was a delay for
13       several· days, and in some cases weeks, between when the request was made, and when Healthcare
14       Provider Defendants DOES 21-30 actually responded. Healthcare Provider Defendants DOES 21-30 and
15       Defendants DOES 31-50 knew, and had reason to know, that Plaintiffs were in need ofimmediate medical
16       care but failed to take reasonable actions to summon such medical care.
17           38.          Plaintiffs and other inmates requested to be tested for COVID-19, but Healthcare Provider
18   · Defendants DOES        21-3 0 refused them tests. Healthcare Provider Defendants DOES 21-30 knew, and had
19   .   reason to know, that Plaintiffs were in need of immediate medical care but failed to take reasonable
20       actions to summon such medical care.
21           39.          Plaintiffs and other inmates at CRC have been exposed to COVID-19 and suffered harm
22       due to the acts and omissions of Defendants committed with delibetate indifference to the well-being of
23       Plaintiffs.
24                     a. Plaintiff ARDELL MCDUFFIE'S ("MCDUFFIE") exposure to COVID-19 and

25       ongoing harm: MCDUFFIE tested positive for COVID-19 on July 1, 2020. Since mid-June 2020,

26       MCDUFFIE has beei1 experiencing COVID-19-related symptoms. including loss of taste, difficulty
27       breathing, and wheezing. After MCDUFFIE reported these symptoms to the correctional officer, he was
28       not given any 1nedication and was moved to a different facility,; one with no circulation and or sanitation.

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         Defendants have foiled to provide MCDUFFlE with adequate personal protective equipment and have

 2       prevented MCDUFFIE from maintaining physical distancing between inmates.

 3                  b. Plaintiff DANJEL CESARIO RAMIREZ'S ("RAMIREZ") exposure to COVID~l9

 4       and ongoing harm:         RAMIREZ tested positive for COVID~19 on July 10, 2020 and has been

 5       experiencing symptoms such as body aches, congestion, headache) and sinus pain. After testing positive

 6       for COVID-19 and requesting medical attention for his severe allergies, RAMIREZ was not provided

 7       any medical attention until two weeks later. CRC did not implement appropriate physical distancing
 8       measures, and non-prisoner staff and officers did not wear masks. Defendants' failure to provide

 9       appropriate safeguards and deliberate indifference for the lives and well-being of RAMIREZ and other

Io       inmates resulting in dozens of confirmed cases in RAMIREZ'S dorm alone.

11                  c. Plaintiff DEMETRIUS ROGERS' ("ROGERS") exposure to C0VID~19 and

12   .   ongoing harm: ROGERS tested positive for COVID-19 on July 6, 2020 and has been experiencing

13       symptoms such as headaches, shorh1ess of breath, and loss of taste and smell. ROGERS has still not
l4       regained his sense of taste and smell. ROGERS also has the underlying condition asthma, of which CRC

15       was aware. After testing positive for COVID-19 and informing medical staff that he was having difficulty
16       breathing, particularly because of his known underlying asthma condition~ ROGERS was not provided

11       medical attention and was not seen by a doctor. CRC, TAMPKINS, and OGLESBY failed to provide
18   . appropriate personal protective equipment to         ROGERS and forced him to continue living in close
19       quarters, making it impossible to maintain social distancing.

20           40,         As a direct and proximate result of Defendants' acts and omissions, as described above,

21       Plaintiffs were exposed to COVID-19 while incarcerated in CRC.

22           41.         As a direct and proximate result of the acts and/ot omissions of Defendants in exposing

23       Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,

24       cough, shortness of breath~ difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,

25       loss of smell, sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and

26       pressure in the chest. In addition, Plaintiffs have suffered iltjuries and emotional distress of the nature and

27       type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
28       but not limited to, suffering anguish, fright; hon-or, nervousness, grief, mudety, worry, shock, humiliation


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      and shame.

 2          42.          Plaintiffs were traumatized by the fear of developing COVID~ 19 due to their confinement
 3    in prison 24 hours per day, where adequate measures were not being taken to prevent the spread of the
 4    virus.
 5          43.           Furthermore, as public health experts and physicians leam more about the myriad ways
 6    COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
 7    unce1tainties that require and will continue to require medical diagnostic exams.
 8          44.           On September 18, 2020, Plaintiffs exhausted thefr administrative remedies.
 9          45.          Between October 7, 2020, and January 8, 2021. Plaintiffs filed timely claims and appeals
1O    for damages with Defendant STATE pursuant to the applicable sections of the California Government
11    Code § 900, et seq.

12          46.           Defendant STATE r~jected Plaintiffs' claims between December 14, 2020 and
13 _Decemberr6, 2020.
14                                            IV.       FIRST CAUSE OF ACTION
15                                                       42 u.s.c. § 1983
16         47.           Plaintiffs re-allege and incorporate by reference all previous allegations as though set tenth
17    in full herein.
18                                   Conditions of Confinement-Eighth Amendment
19          4-8.        - 42 U.S.C. § 1983 provides that any- person or persons who, under color of state law,
20    deprives another of a11y rights, privileges, or immunities secured by the Constitution or laws of the United
21   · -S1ates   shall be Hable to the injured party.
22         49.           Under the Eighth Amendment, a convicted prisoner has the right to be free from Hcruel
23    and unusual punishments."
24          50.          At all times relevant, Plaintiffs faced a substantial risk of serious harm, and a serious
25    medical need.
26          S1.          Defendants we1·e deliberately indifferent to those risks and medical needs. Defendants
27    knew of the risks and medical needs and disregarded those risks and needs by failing to take reasonable
28    measures to address them. The Supreme Court has recognized that officials may not be "deliberately



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         indifferent to the exposure of inmates to a serious, communicable disease." (Helling v. McKinney
 2       symptoms." (Id.; see also Hutto v. Finney (1978) 437 U.S. 678, 682 (finding Eighth Amendment violation
 3       and noting incarcerated people were placed in conditions where infectious diseases could spread easily).)
 4       Failure to prevent the spread of a contagious illness constitutes deliberate indifference to a serious medical
 5       need. (See Hutto, supra, 437 U.S. at 682; Gates v. Collier (5th Cir. 1974) 501 F.2d 1291, 1300, 1303
 6       (holding plaintiffs entitled to relief under Eighth Amendment due to, among other conditions, allowing
 7       "inmates with serious contagious diseases ... to mingle with the general prison population"). It is well
 8       established that the Government may not "ignore a condition of confinement that is sure or very likely to
 9       cause serious illness." (Hellingt supra, 509 U.S. at 33. See Brown v, Plata (2011) 563 U.S. 493, 508~09,
1O       519-20 (affirming population reduction order and citing findings that ''[o]vercrowding had increased the
II       incidence of infectious disease" in California prisons, and that crowded living quarters "where large
12       numbers of prisoners may share just a few toilets and showers [were] 'breeding grounds for disease"').)
13            52.        As a direct and proximate result of Defendants' acts and omissions, as described above,
14       Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
15            53.        As a direct and proximate result of the acts and/or omissions of Defendants in exposing
16       Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
17       cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
18       loss of smell, sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and
19       pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
20       type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
21   .   but not limited to, suffering anguish. fright, honor, nervousness, grief, anxiety, worry, shock, humiliation
22       arid sha111e.

23            54.        Plaintiffs were traumatized by the fear of developing COVID-19 due to their confinement
24       in prison 24 hours per day, where inadequate measures were being taken to prevent the
25            55.        Furthermore, as public health experts and physicians learn more about the myriad ways
26       COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
27       uncertainties that require and will continue to require medical diagnostic exams.
28            56.        The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPHDIAZ, in his

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      it1dividual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; OGLESBY KERRY
 2    OGLESBY; and DOES 1~100 was oppressive, and Defendants acted with l'eckless and callous
 3    indifference to the federally protected rights of others. As such, Defendants' actions justify an awatd of
 4    punitive damages in an amount to be determined at the time of trial.
 5                              Conditions of Confinement-Fourteenth Amendment

 6        57.          42 U.S.C. § 1983 provides that any person or persons who, undet· color of state law,
 7    deprives another of any rights, privileges, or immunities secured by the Constitution or laws of the United
 8    States shalt be liable to the injured party.
 9        58.          Defendants failed to provide safe conditions of confinement in CRC. The Supreme Court
10    has recognized that officials may not be "delibe1·ately indifferent to the exposure of inmates to a serious,
11    communicable disease." (Helling v. McKinney (1993) 509 U.S. 25, 33.) This is true even when "'the
12    complaining inmate shows no serious current symptoms." (Id; see also Hutto v. Finney (1978) 437 U.S.
13·   678,682 (finding Eighth Amendment violation and noting incarcerated people were placed in conditions
14    where infectious diseases could spread easily).) Failure to pl'event the spread of a contagious illness
15·   constitutes deliberate indifference to a serious medical need. (See Hutto. supra, 437 U.S. at 682; Gates v.
16    Collier (5th Cir. 1974) 501 F.2d 1291, 1300, 1303 (holding plaintiffs entitled to relief under Eighth

17    Amendment due to~ among other conditions, allowing ''inmates with serious contagious diseases ... to
18    mingle with the general prison population"). It is well established that the Government may not "ignore
19    a condition of confinement that is sure or very likely to cause serious illness." (Helling, supra, S09 U.S.
20·   at 33, See Brown v. Plata (2011) 563 U.S. 493,508, 09, 519~20 ( affirming population reduction order
21    and citing findings that "[o]vercrowding had increased the incidence of infectious disease" in Califomia

22    pl'isons, and that crowded living quarters "where large numbers of prisoners may share just a tew toilets
23    and showers [were] 'breeding grounds for disease''"),)
24       ··· 59.       Defendants made an intentional decision regarding the conditions under which Piaintiffs
25    were confined.
26         60. ·       The conditions of confinement put Plaintiffs at substantial risk of suffering serious harm.
27         61. ··      Defendants did not take reasonable available measures to abate or reduce the risk of
28    serious harm, even though a reasonable officer under the circumstances would have understood the high



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      degree of risk involved-making the consequences of Defendants' conduct obvious.
 2        62.         As a direct and proximate result of Defendants' acts and omissions, as described above,
 3    Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
 4        63.         As a direct and proximate result of the acts and/or omissions of Defendants in exposing
 s    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
 6    cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
· 7   loss of smellJ sore throat; congestion, runny nose. nausea, vomiting, diarrhea, and persistent pain and
 8    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
 9    type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
I0    but not limited to, suffering anguish, fright, hon-01\ nervousness, grief, anxiety, worry, shock, humiliation
11    and shame.

12        64.         Plaintiffs were trai1111atized by the fear of developing COVID-19 due to their confinement
13    in prison 24 hours per day, where inadequate measures were being taken to prevent the
14        65.         Furthem10re, as public health experts and physicians learn more about the myriad ways
15    COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
16    unce11ainties that require and will continue to require medical diagnostic exams.
17        66.         The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his
18    individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and
J9    DOES 1-100 was oppressive, and Defendants acted with reckless and callous indifference to the federally
20    protected rights of others. As such, Defendants• actions justify an award of punitive dari1ages in an
21    atnount to be determined at the time of trial.
22        67.         As a direct and proximate result of Defendants• acts and omissions; as described above,
23    Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
24        68.         As a direct and prnximate result of the acts and/or omissions of Defendants in exposing
25    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
26    cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
27    loss of smell, sore throat, congestio11, runny nose, nausea, vomiting, diarrhea, and persistent pain and
28    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and



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     type that reasonable persons would suffer under the circumstances alleged in this Complaint; including,
 2   but not limited to, suffering anguish, fright, horror, nervousness, grief, anxiety, worry, shock, humiliation
 3   and shame.
 4       69.           Plaintiffs wete traumatized by the fear of developing COVID-19 due to their confinement
 5   in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the
 6   vrrus,

 7       70,           Furthermore, as public health experts and physicians learn more about the myriad ways
 8   COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
 9   uncertainties that require and will continue to require medical diagnostic exams.
10       71.           The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his

11   individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and
12   DOES 1-100 was oppressive, and Defendants acted with reckless and callous indifference to the federally
13   protected rights of others. As such, Defendants' actions justify an awal'd of punitive damages in an
14   amount to be determined at the time of trial.
15                                        v.      SECOND CAUSE OF ACTION

16                            MONELL LIABILITY PURSUANT TO 42 U.S.C. § 1983
17       72.           Plaintiffs re-allege and incorporate by reference alt previous allegations as though set forth

18   in full herein.
19       73.           Defendants, by and through their supervising· and managerial employees, agents, and
20   representatives, deprived Plaintiffs of the rights and liberties secured to them by the Fotirth Amendment
21   of the United States Constitution by acting with gross negligence and reckless, deliberate indifference to
22   the rights and libe1iies of Plaintiffs and persons in their class; situation, and comparable position. In
23   particular, Defendants knowingly maintained, enforced, and applied an official, recognized set of CDCR
24   customs, policies, and practices that:

25             • Failed to provide a no-cost supply of soap to incarcerated/detained persons, sufficient to allow

26             frequent hand washing;
27             • Failed to provide alcohol-based hand sanitizer containing at least 60% alcohol;

28             • Failed to adhere to CDC recommendations for cleaning and disinfection during the COVID-19


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                response, including cleaning and disinfecting frequently touched sUl'faces several times per day;
 2              • Failed to encotll'age all persons in the facility to protect themselves by practicing good cough
 3              etiquette and good hand hygiene and avoiding touching of the eyes. nose, or mouth;
 4              • Failed to encourage these behaviors by posting signs throughout the facility and regularly
 5              communicating that information verbally;
 6              • Failed to implement physical distancing strategies to increase the physical space between

 7              incarcerated/detained persons (ideally 6 feet between all individuals, regardless of the presence
 8              • Failed to provide inmates with information and consistent updates about COVID-19 and its
9               symptoms;
lO              • Failed to test inmates for COVID-19, and segregate inmates who test positive from other
II              inmates;
12              • Failed to test 11ew incoming inmates for COVID-19, and segregate those who test positive from
13              other inmates;
14              • Housing ostensibly sick inmates with imnates who were not sick and who had not tested positive
15              for COVID-19;

16              • Plach1g inmates who had had co11tact with inmates who later tested positive for COVID- 19 with
17              inmates who were ostensibly sick, or who tested positive for COVID-19; and
18              • Failing to promptly and adequately test CRC employees for COVID-19 before al1owing the
19              employees to enter CRC and spread the virus.
20        74.          By reason of the aforementioned policies and pl'actices of Defendants, Plaintiffs have
21   · contracted COVID-19, and have suffered severe pain and suffering, me11tal anguish, humiliation, and

22    emotional distress.
23        75.          Defendants~ together, with various other officials, whether named, or unnamed, had either
24    actual or constructive lmowledge of tlw deficient policies, practices, and customs, alleged in the
25    paragraphs above. Despite having knowledge as stated above, these Defendants condoned, tolerated, and
26    through actions and inactions thereby ratified such policies. Defendants also acted with deliberate
27   ·indifference to the foreseeable effects and consequences of these policies with respect to the constitutional
28    rights of Plaintiffs, and other individuals similarly situated.

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           76,        By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct and other

 2   wrongful acts, Defendants acted with intentional, reckless, and callous disregard for the well-being of

 3   Plaintiffs, and their constitutional and human rights. Defendants and each of their actions were willful,

 4   wanton; oppressive, malicious, fraudulent, and extremely offensive and unconscionable to any person of

 5   normal sensibilities.

 6         77.        Furthermore, these policies, practices and customs implemented and maintained and still

 7   tolerated by Defendants were affirmatively linked to and were a significantly influential force behind

 8   Plaintiffs' injuries.

 9         78,        Accordingly, Defendants each are liable to Plaintiffs for compensatory damages under 42

10   u.s.c. § 1983.
lI         79.        As a direct and proximate result of Defendants• acts and omissions, as described above.

12   Plaintiffs were exposed to COVID~ 19 while incarcerated in CRC.

13         80.        As a direct and proximate result of the acts and/or omissions of Defendants in exposing

14   Plaintiffs to actual risk of immediate physical injury; Plaintiffs became ill1 suffering from fever, chills,

15   cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,

l6   loss of smell, ·sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and

17   pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and

18   type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,

19   but not limited to, suffering anguish, fright, hon-or, nervousness, grief, anxiety, wony, shock, humiliation

20   and shame.

21         81.        Plaintiffs were traumatized by the fear of developing COVID- 19 due to their confinement

22   in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the

23   virus.

24         82.        Furthermore, as public health expe11s and physicians learn more about the myriad ways

25   COVID~l9 attacks and damages the body, Plaintiffs develop new and evolving medical fears and

26   uncertainties that require and will continue to require medical diagnostic exams.

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 1                                          VI.     THIRD CAUSE OF ACTION
 2                              DANGEROUS CONDITION ON PUBLIC PROPERTY
 3                                                  [GOV, CODE§ 835]
 4        83.           Plaintiffs re-allege and incorporate by reference all previous allegations as though set forth
 5    in full herein.
 6        84.           Defendants ownedt ran, operated, or controlled CRC.
 7        85.           CIM was in a dangerous condition at all times mentioned in this Complaint. CRC has
 8    individual smallt cells with two to four inmate bunk style beds per cell and/or dorm rooms, which housed
 9    over forty inmates in a single roomt with bunk style beds approximately three feet apart in distance
10    between the beds. The above-described conditions made it impossible for inmates to practice physical
lI    distancing by maintaining six feet of distance from other inmates. Prison cells with indivip.ual, small,
12    cells with two to four inmate bunk style beds per cell were especially dangerous because Plaintiffs were
13    locked in extremely close quarters with other inmates, which made it impossible to avoid other inmates'
14    virus-laden droplets expelled while speaking, coughing, or sneezing. Prison cells with dorm rooms, which
15    housed over 40 inmates in a single room, with bunk style beds approximately three feet apa11 in distance
16    between the beds, were also d,angerous because Plaintiffs were locked in a room with over 40 inmates)
17    which made it impossible to avoid other inmates' virus-laden droplets expelled while speaking, coughing,
18    or sneezing.
19·       86.           The dangerous condition created a reasonably foreseeable risk of the kind of injury that
20        87.           The negligent or wrongful conduct of Defendants acting within the scope of their
21    employment created the dangerous condition.
22        88.           The Defendants had notice of the dangerous condition for a long enough time to have
23    protected against it.
24        89.           As a direct and proxiinate result of Defendants' acts and omissions, as described above,
25    Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
26        90.           As a direct and proximate result of the acts and/or omissions of Defendants in exposing
27    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,

28    cough, .sho1iness·ofbreath, difficuity breathing, fatigue, muscle and body aches, headache, loss of tastet



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     loss of smell, sore throat, congestion, runny nose, nausea, vomiting, dian·hea, and persistent pain and
 2   pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
 3   type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
 4    but not limited to, suffering anguish, fright, hon-or, nervousness, grief, anxiety, worry, shock, humiliation
 5   and shame.
 6          91.        Plaintiffs were traumatized by the fear of developing COVID-19 due to their confinement
 7   in. prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the

 8   virus.
 9          92.        Furthermore, as public health expe1ts and physicians leam more about the myriad ways
10   COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
II   uncertainties that require and will continue to require medical diagnostic exams.
12          93.        The dangerous condition was a substantial factor in causing Plaintiffs' harm.
13          94.        Defendant STATE is liable for the acts of Defendants pursuant to Government Code§
14    815.2(a), whichpl'ovides that a public entity is Hable for injury proximately caused by an act or omission
1s   of an employee of the public entity within the scope of his employment if the act or omission would;
16   apart from this section, have given rise to a cause of action against that employee or his personal
17   representative.
18          95.        Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and.
19   , official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY;                       and DOES 1-100 are
20   liable pursuant to Government Code section 844.6(d), which provides that nothing in Section 844.6
21   exonerates a public employee from liability for injury proximately caused by his negligent or wrongful
22   act or omission.
23          96.        The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his
24   individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and

25   DOES ·1-100 was oppressive, and in reckless disregard of Plaintiffs' tights. As such, Defendants' actions
26   justify art award of punitive damages in an amount to be detennined at the time of trial.
27   JI/
28   ill.


                                                          -21-
                                           COMPLAINT FOR DAMAGES
       Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 28 of 70 Page ID #:28



                                            VII.    FOURTH CAUSE OF ACTION
 2                                                     NEGLIGENCE
 3         97.           Plaintiffs re"allege and incorporate by reference all previous allegations as though set forth
 4    in foll herein.

 5         98.           The Defendants owned Plaintiffs a duty of care to protect them from the risk of contracting
 6    COVID-19 while incarcerated in CRC.
 7         99.          The Defendants breached their duty owed to Plaintiffs.
 8       100.           As a direct and proximate result of Defendants' acts and omissions, as described above,
 9    Plaintiffs wel'e exposed to COVID· 19 while incarcerated in CRC.
10       101.           As a direct and proximate result of the acts and/or omissions of Defendants in exposing
11    Plaintiffs to actuaJ risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
12   • cough,    shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
13    loss of smell, sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and
14    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
I5    type that reasonable persons would suffer unde1· the circumstances alleged in this Complaint, including,
16    butnot limited to, suffering anguish, fright, horror, nervousness, griefi anxiety~ wony, shock, humiliation
11    and shame.
18       102.           Plaintiffs were traumatized by the fear of developing COVID-19 due to their confinement
19    in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the
20    virus.
21       103.           Furthermore, as public health experts and physicians learn more about the myriad ways
22    COVID~ 19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and

23    u'ncertainties that require and will continue to require medical diagnostic exams.
24       104,           STATE and CDCR' s employees' negligence was a substantial factor in causing Plaintiffs'
25    harm.
26       105.           Defendant STATE is liable for the acts of Defendants pursuant to Government Code§
27    8 I 5.2(a), which provides that a public entity is liable for injury proximately caused by an act or omission
28   • ofan    employee of the public entity within the scope of his employment if the act or omission would;


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                                             COMPLAINT FOR DAMAGES
      Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 29 of 70 Page ID #:29



     apart from this section, have given rise to a cause of action against that employee or his personal
 2   representative.
 3      106.           Defet1dants CDCR SECRETARY RALPH DIAZ, in his individual and official capacities;
 4   WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 are liable pursuant to
 5   Government Code section 844.6(d), which provides that nothing in Section 844.6 exonerates a public
 6   employee from liability for injury proximately caused by his negligent or wrongful act or omission.
 7      107.           Defendants are liable pursuant to Government Code section 845.6, which provides that a
 8   pt1blic entity and a public employee are Jiable if the employee knows or has reason to know that a prisoner
 9   is in need of immediate medical care and he fails to take reasonable action to summon such medical care.
IO      108.           The conduct of Defendants CDCR SECRETARY RALPH DIAZ, in his individual and
11   official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 was
12   oppressive, and in reckless disregard of Plaintiffs' rights. As such, Defendants' actions justify an award
13   of punitive damages in a:n aniount to be determined at the time of trial.
14                                         VIII. FIFTH CAUSE OF ACTION
15                          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
16      109.           Plaintiffs re-allege and incorporate by reference all previous allegations as though set forth
I7   in full herein.
18      110.           Defendants knew or should have known of the actual risk of a viral outbreak of COVID-
19   19 in CRC. Defendants k11ew or should have known that it was especially dangerous to expose :Plaintiffs
20   to COVID~19.
21      ll1.           Nevertheless, Defendants acts and/or omissions, a$ described above, created a dangerous
22   and threatening environment in which Plaintiffs were forced to live for month after month, at all times
23   'directly at risk of becoming infected with, made ill by, and/or spreading COVID" 19.
24      112.           As the direct and proximate result of Defenda11ts' actions and omissions. Plaintiffs were
25   in the "zone of danger." where they were at immediate risk of actual physical hmm, including the potential
26   of contracting COVID-19, suffering frotn the illness-including expedencing shortness of breath,
27   coughing, body aches, fever, and/or any number of yet-to-be identified future ailments, such as liver
28   damage, kidney failure, or blood clotting- and potentially death as a result of the virus.


     --~--------~---------3..-..--------~----~-~-
                                            COMPLAINT FOR DAMAGES
       Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 30 of 70 Page ID #:30




         113.           As a direct and proximate result of the acts and/01' omissions of Defendants in exposing
 2    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fevel', chills,
 3    cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
 4    loss of smell, sore throat, congestion, runny 11ose, nausea, vomiting, diarrhea, and persistent pain and
 5    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
 6    type that l'easonable persons would suffer under the circumstances alleged in this Complaint, including,
 7    but not limited to, suffering anguish, fright, hon-or, nervousness, giief, anxiety, worry, shock, humiliation
 8    and shame.

 9       114.           Plaintiffs were traumatized by the fear of developing COVID~ 19 due to their confinement
1o    in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the
11    virus.
12       115.           Furthermore, as public health experts and physicians learn mote about the myl"iad ways
13    COVID-19 attacks and damages the body, Plaintiffs develop new aiid evolving medical fears and
14    uncertainties that require and will continue to require medical diagnostic exams.
15       116.           Defendant STATE is liable for the acts of Defendants pursuant to Government Code §
16    815.2(a), which provides that a public entity is liable for injiu-y proximately caused by- an act or omission
17    of an employee of the public entity within the scope of his employment if the act or omission would,
18    apart from this section, have given rise to a cause of action against that employee or his personal
19·   representative.
20       117.           Defendants CDCR SECRETARY RALPH DIAZ, in his individual and official capacities;
21    WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 are liable pursuant to
22    Government Code section 844.6(d), which provides that nothing in Section 844.6 exonerates a public _
23    employee from liability for injury proximately caused by his negligent or wrongful act or omission.
24       l 18.          Defendants are liable pursua11t to Government Code section 845.6, which provides that a
25    public entity and a public employee are liable if the employee knows ot has reason to know that a prisoner
26    is in need of immediate rnedical care and he fails to take reasonable action to summon such medical care.
27       119.           The conduct of Defendants CDCR SECRETARY RALPH DIAZ, in his individual and
28    official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 was

                                                           -24-
                                           COMPLAINT FOR DAMAGES
      Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 31 of 70 Page ID #:31



     oppressive, and in reckless disregard of Plaintiffs, l'ights. As such~ Defendants, actions justify an award
 2   of punitive damages in an amount to be determined at the time of trial.
 3                                            IX.     PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiffs ARDELL MCDUFFIE) DANIEL CESARIO RAMIREZ, and
 5   DEMETRIUS ROGERS pray for judgment against Defendants as follows:

 6         1.     For damages according to proof;

 7         2.     For interest as allowed by law;

 8         3.     For reasonable attornefs fees pursuant to 42 U.S.C. § 1988;
 9         4.     For costs of suit incu11'ed by Plaintiffs; and

10         5.     For punitive damages in an amount appropriate to punish Defendants CDCR SECRETARY

11   . RALPH    DIAZ, in his individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY
12   OGLESBY; and DOES 1~100 and deter others from engaging in similar misconduct.

13                                       x.         DEMAND FOR JURY TRIAL

14         Plaintiffs hereby demand a trial by jury in this case.

15

16   Dated: March 29t 2021                            SHEGERIAN & ASSOCIATES, INC.
17

18                                             By:

19
                                                      Attorneys for Plaintiffs ARDELL
20                                                    MCDUFFIE, DANIEL CESARIO
                                                      RAMIREZ, and DEMETRIUS ROGERS
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                                          COMPLAINT FOR DAMAGES
Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 32 of 70 Page ID #:32




              EXHIBIT B
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                     OFFICE OF THE ATTORNEY GENERAL
                                   DEPARTMENT OF JUSTICE
                              Civil Service of Process Cover Sheet
                                          SAC              SF                   OAK            LA            SD       FR

Service of Process Disclaim.er:

To All Persons Attempting Service of Process Upon The Office Of The Attorney Gen

Please be advised that staff assigned to receive documents delivered to the Attorney General's Office are not authorized to
accept such documents as properly served. Further, staff are not authorized to receive documents on behalf of any
Individual. In receiving documents delivered by process servers and/or other members of the publlc, office personnel do not
thereby waive any right of the State of California, the Attorney General's Office, any other entity of the State of California, or any
individual to object fo the validity of the service.

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                                   I'     d ocuments to t he Attornev G eneral s 0 ff'ice:
 Case Name:
               ARDELL MCDUFFIE VS CA DEPT OF CORRECTIONS AND REHAB
 Gountv: RIVERSIDE                                      I Court No.:. CVRl2101568
 Document(s)    ~ Summons and Complaint/Cross               □ Notice of Consumer or Employee
 served:           Com pl'aint/Amended Complaint                and Objection and check for $15.00
                □  Notice  to Attorney General's Office     □ Writ of Mandate and Complaint for
                   pursuant to Section                           Declaratory Relief
                 □ Petition For Relief From Late Claim □ Other (please list):
                   Filing (Gov. Code,§ 946.6)
                 □ Pltchess Motion
                .□ Small Claims
                 □ Deposition Subpoena for Production
                   of Business Records
 Document(s) For
 (Specify State                STATE OF CALIFORNIA
 Agency):
 Process Server's             Jonathan Shisler, Sacramento County 2008-10
 Name:                                           ·                                                                         Krvstalvn Johnson
 Name of                       A2Z Attorney Service
 Company:                      980 9 th St, 16 11' Fir                                 . .
 (business name,               Sacramento, CA 95816
 address, and
 number)                       916-436-5484
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  Name of Service
  Deputy, section,
  and telephone
  number:
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The attached document(s) appear(s) to be the respons1b1hty                       .
                                                           of your section; If they are n,Q,i, please return them to the Service
Deputy named above, noting the section to which they are to be directed.                                          (Rev. 7/2014).
             Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 34 of 70 Page ID #:34


                                                                  COPY
                                             SUMMONS                                                                         FOR COIJRTUSE ONLY
                                                                                                                       •"(SOL.O PARA USO DE LA C0flT~)
                                       (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
  (A VISO AL DEMANDADO):
  California Department of Corrections and Rehabilitation, See                                                               lFOlb~@
                                                                                                                      SUPERIOR COURT OF CA\.lf'ORNIA
  Attachment 1,                                                                                                              COUNTY Of RIVERSID~

 YOU ARE BEING SUED BY PLAINTIFF:                                                                                                MAR 2 9 2021
 (LO ESTA DEMANDANDO EL DEMANDANTE):
  Ardell McDuffie; Daniel Cesario Ramirez; and Demetrius Rogers
                                                                                                                          L. VILLANUEVA


   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read th.e information
   below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to fife a written response a! this court and have a copy
  served on !he plalntlff. A letter or phone oallwm not protect you. Yourwr1Uen response must be In proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your responoo. You can find these court forms and more information at the CaUfornia Courts
  Onllne Self-Help Center (www.ccrurtfnfo.ca.gov/sellhe/p), your oounty law library, or the courthouse nearesf you. If you cannot pay the fillng fee, ask
   the court clerk for a fee waiver form. If you do not flle your response on time, you may lose lhe case by default, and your wages, money, and property
   may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want lo call an attorney
  referral service. lfyou cannot afford an attorney, you may be ll!igible for free legal services from a nonprofit legal seivioes program. You can locate
   these nonprofll groups at tlle California Legal Services Web site (www.fawhe~califomie.o,y), the California Courts Online Sell-Help Center
   (www.courtlnfo.ca.gov/sellhelp), or by contacting your local court or county bar association. NOTE: The court has a sta!ulory llen for waived-fees and
  costs. on any settlement or arbllralion award of $10,000 or more in a civil i:ase. The court's lien must be paid before the court Wlll dismiss lhe case.
  JAVISOJ Lohan demar!dac/o. Sf no responde dentro de 30 d{as, la corte puede decidlr en su contra sin escuc:har su versl6n, Lea ta lntormacl6n a
  continuac/6n.
      Tiene 30 DIAS DIE CALENOAR/0 despues de que le entreguen esta cltacion y papa/es /egales para presentar una respueste por escrito en esta
  carte y hacer que se entregue una cop/a al demandante. Una Carta o une lfamada telefdn!ca no lo protegen. Su respuesta por esr:rilo Ilene que estar
  en formato legal correcto si desea qua procesen su c:aso en la co,te. Es poslb/e que haya un fonnutano que usted pueda usar paras~ respuesta.
  Puede encontrar estos formufarlos de la colte y mas informec;tm en el Centro de Ayuda de las Cones de Califomia (www.sucorte.ca.gov), en la
  b/b/foteca de /eyes de su condado o en la corlB que le quede mas ceroa. SJ oo puede pager la cuota de presentacl6n. plda al secmtatio de la corte
  quii le de un formularlo de exencf6n de pago de cuotas. SJ no presenta su respuesta a tiempo, puede perder el caso por incumplimisnlo y la cr,rte le
  podlil qu/tar su sue/do, dinero y Mmes sin mas adlterlencia.
     Hay otros requisiU>s /egafes. Es recomendable que Dame a un abogado {nmedlatamenfe. Si no conoce a un abagado, puede 1/amar a un seN/cio de
  remisi6n a abogadOs. ·Sino puede pagar a un abogado, es posible que cumpla con Jos requlsitos pare obtener servlclos /egal9S gratnl/os de un
  progrema de servicios legates sin fines de Jucro. Puede encantrar estos grupos sin "nes de lucre en el sil/o web de Ca/Jfomla Legal Seflllces,
  t,,vwwJawhelpcar.tomia.org), en el Centro de Ayuda·de las Cortes de Califamia, t\r,'ww.sucorte.ca.gov) o poniendose en contacto con la corle o el
  cofeglo de. abogados locafes. AVISO: Por Jey, ta corte tiene derecho a rec/amar las cuatas y tos costo.s exenlos por imponer un gravamen sabre
  cualquier recuperacl6n de $10.0DO 6 m$s de valor rec/bids mediante un acuerdo o una concesl6n de arb11mje en un ca.so de deroc/JO civil. TJene que
  pagen'Jl gravamen de la COfte antes de que la corte pueda desechar el ca.so.                                       ·
 The name and address of the court is:                                                                   CASE NUMBER:
 (,'El b    Jj'   ·a 11, J rt; .1                                                                        (l\lum""' o'el Caso):
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 4050 Main St.                ·
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 Riverside, CA 92501
 The name, address, and telephone number of plafntiffs attorney, or plaintiff without an attorney, ls:
 (El nombre, la direcqi6nr.. el .numero de felefono de/ abogado def demandante, o de/ demandante que no iiene abogado, es):
  Carney R. Shegenan, Esq, (SBN 150461)                         ·                       ·        (310)860-0770
  She.irerian & Associatru: Inc · ·                 ·                                                                            · ·    ·
. T4:'.> 1S. :spi·mg ~treet, :silite 21'.00, Los Angeles, California 90012
 ife!~~) March 29, 2021                      MAR 2 9 2021                         ~J:~~e~IrfoJ       L. VILLANUEVA
                                                                                                                                                           , Deputy
                                                                                                                                                             (Adjunto)
 (For proof of seN/ce of this summons, use Proof of Service of Summons (form POS-010).)        .
 (Para prueba d9 entrega de esta aitatl6n use el formu/arlo Proof of Service of Summons, (POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
  !SEAL)
                                  1.         D
                                           as an individual defendant.
                                  2.         D
                                           as the person sued under the fictitious name of (specify):


                                        3.   r5lJ   on behalf of (SP9cify):      bt'lL+e. C\- U \i-tf>Y-V\1 ~
                                             under:   D       CCP416.10 (corporation)                     D          CCP 416.60 (minor)
                                                      D       CCP 416.20 (defunct corporation)            CJ         CCP 416.70 (conservatee)
                                                      D       CCP 416.40 (association or partnership)     D          CCP 416.90 (authorized person)
                                                      r:szi   other (specify):   ce,,, ~ 4 l l, ~o f u~ li c. tA'\·-IH~:t .
                                        4.   D      by personal delivery on (date):             •                                                                     1
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                 Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 35 of 70 Page ID #:35



                                                                                                  CASI; NUMBli!R:
      SHORT TITLE:
f--   McDuffie et al. v. CaHfornia Department of Corrections and Rehabilitation, et al.

                                                                 INSTRUCTIONS FOR USE
  + This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  + !f this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
          Attachment form is attached."

      List additional parties (Check only one box. Use a separate page for each type of party.):

        D         Plaintiff           lg}   Defendant    D   Cross-Complainant   O    Cross-Defendant

      State of California; CDCR Secretary Ralph Diaz, in his individual and official capacities; Warden Cynthia Y.
      Tampkins, in her individual and official capacities; Kerry Oglesby. in her individual and official capacities;
      and DO ES 1-100 inclusive,




                                                                                                                    Page   1    of     1
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Form Adopted for Mandatory Use
      Judicial C~uncn of Celilornia                     ADDITtONAL PARTIES ATTACHMENT
SUM•200{A) [Rev. Janu,uy 1. 2007)                             Attachment to Summons
     Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 36 of 70 Page ID #:36

                                                  COPY
     Carney R. Shegerian 1 State Bar No. 150461
     CShegerian@Shegerianlaw.com
 2   Anthony Nguyen, State Bar No. 259154
     ANguyen@Shegedanlaw.com
 3   Cheryl A. Kenner. State Bar No. 305758                                  MAR 2 9 20?.1
     CKenl1er@Shegerianlaw.com
 4   SHEGERIAN & ASSOCIATES, INC.                                         L. VILLANUEVA
     145 South Spring Street, Suite 400                               c-~•••   __ z::;:;..   aaUC¢!..2iilfii   ,~ •••   C:~

 5   Los Angeles, California 90012
     Telephone Number:        (310) 860-0770
 6   Facsimile Number:        (310) 860-0771
 7   Attorneys for Plaintiffs ARDELL MCDUFFIE,
     DANIEL CESARIO RAMIREZ, and
 8   DEMETRIUS ROGERS



                            SUPERIOR COURT OF STATE OF CALIFORNIA
11
                                     FOR THE COUNTY OF RIVERSIDE
12

13

14   ARDELL MCDUFFIE; DANIEL CESARIO                Case No.:      CVRI 21 0·1 5 6·a
     RAMIREZ; and DEMETRIUS ROGERS;
15                                                  COMPLAINT FOR DAMAGES:
                           Plaintiffs,
16                                                        (1) 42 u.s.c. § 1983;
            vs.
17                                                        (2) 42 U.S.C. § 1983 [MONELLLIABIUTYJ;
     CALIFORNIA DEPARTMENT OF
18   CORRECTIONS AND REHABILITATION;                      (3) DANGEROUS CONDITION ON PUBLIC
     STATE OF CALIFORNIA; CDCR                                PROPERTY [GOV. CODE§ 835];
19   SECRETARY RALPH DIAZ, in his
     individual and official capacities; WARDEN           (4) NEGLIGENCE; and
20   CYNTHIA Y. TAMPKINS, in her individual
     and official capacities; KERRY OGLESBY, in           (5) NEGLIGENT INFLICTION OF
21   her individual and official capacities; a11d             EMOTIONAL DISTRESS
     DO ES 1- l 00 inclusive,
22
                           Defendants.              DEMAND FOR JURY TRIAL
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                                         COMPLAINT FOR DAMAGES
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             Plaintiffs ARDELL MCDUFFIE, DANIEL CESARIO RAMIREZ, and DEMETRIUS ROGERS
 2    (collectively, "Plaintiffs), by and through their attorneys, Shegerian & Associates, Inc., hereby file this
 3    Complaint against Defendants CALIFORNIA DEPARTMENT OF CORRECTIONS                                    AND
 4    REHABILITATION; STATE OF CALIFORNIA; CDCR SECRETARY RALPH DIAZ, in his
 5    individual and official capacities; WARDEN CYNTHIA Y. TAMPKJNS, in her individual and official
 6    capacities; KERRY OGLESBY, in her individual and official capacities; and DOES 1-100 inclusive,
 7    (collectively, "Defendants")~ and states as follows:
 8                                                 I.    INTRODUCTION
 9           1.          Plaintiffs are and/or were inmates at the California Rehabilitation Center ("CRC") in
JO    Norco, California in Riverside County when the novel coronavirus disease 2019 ("COVID~l9") began
11    spreading at SQSP. All Plaintiffs contracted COVID-19 while housed at CRC and continue to have
12    lingering symptoms since recovering from COVID-19.
13           2.          Despite the danger of the spread of COVID" 19 at CRC, Defendants failed to implement
14    policies and procedures to prevent the spread of COVID-19 in CRC.
15                                        II.      PARTIES AND JURISDICTION
16           3.          Plaintiffs ARDELL MCDUFFIE, DANIEL CESARIO RAMIREZ, and DEMETRIUS
17    ROGERS are persons who, at all times relevant to this Complaint, were domiciled in California and wei·e
18   . inn'lates   at the Califomia Rehabilitation Center ("CRC') in Norco, California, within Riverside County.·
19           4.          Plaintiffs are informed and believe and thereon allege that Defendant STATE OF
20    CALIFORNIA (hereinafter "STATE") is responsible for the actions, omissions, policies, procedures,
21    practices, and customs of its various employees, agents and agencies, including the CALIFORNIA
22    DEPARTMENT OF CORRECTIONS AND REHABILITATION (hereinafter "CDCR'), and their
23    agents and employees, and are sued pursuant to the California Tort Claims Act, California Government
24    Code sections 910, et seq. for the acts and omissions of the individually named and fictitiously named
25    public employees and agents, and each of them. At aH times relevant to the acts alleged herein, Defendant
26    STATE was responsible for assuring that the actions, omissions, policies, procedures, practices and
27    customs of the CDCR, their employees and agents> as well as its own employees and agents, complied
2s    with the laws of ST ATE of California and the Constitution of the United States.


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           5.        Plaintiffs are informed and believe and thereon allege that Defendant CDCR is the chief
 2   law enforcement agency for Defendant STATE. Defendant CDCR is also in charge of, and l'esponsible
 3   for, the prison housing of all persons convicted of crimes, serving a state prison sentence.
 4         6.        TI1e CDCR operates and manages STATE prison facilities, a11d is, and was at all times
 5   mentioned herein, responsible for the actions and/or inactions and the policies, procedures and
 6   practices/customs of CRC. By incarcerating individuals and depriving them of the ability to care for and
 7   protect themselves, CDCR created and mai11tained a special relationship with its inmates and is
 8   responsible for ensuring the safety of the inmates incarcerated or detained in its facilities.
 9        7.        Plaintiffs are informed and believe and the1·eon allege that Defendant, RALPH DIAZ
Io   ("DIAZ"), is an individual domiciled in California, and was, at all times l'elevant hereto, employed as the
11   Secretary of the CDCR, acting under the color of law and in the course and scope of his employment for
12   Defendant STATE. He was charged by law and was responsible for the administration of Defendant
13   CDCR and for the supervision, tmining and hiring of persons, age11ts and e1nployees working within.
14   CDCR, including but not limited to wal.'dens and con·ectional officers. Defendant DIAZ is and was
Is   fesporisible for the promulgation of the policies and procedures and allowances of the practices/customs
16   pursuant to which the acts of the employees of CRC alleged herein were committed. Defendant DIAZ
17   was responsible to ensure appropriate staffing levels for custodial staff were maintained at the prison
18   facilities. Defendant DIAZ and the other defendants have been deliberately indifferent to the danger of
19   the spread of cormiavirus disease 2019 ("COVID-19") within CRC, at least in part, by exceedingly
20   inadeqtiate iriinate classification procedures, and inadequate employee screening procedures. As a result
21   of this deliberate indifference1 as in this case, Plaintiffs were exposed to COVID-19. Defendant DIAZ is
22   being sued in his individual and official capacities.
23         8.       Defendant CYNTHIA Y. TAMPKINS ("TAMPKJNS") ist and was at all relevant.times
24   mentioned herein, Warden of the California Institution fot Men. Defendant TAMPKINS is and was
2S   responsible foi- the training and supe1·vision of all CRC employees and/or agents. Defendant TAMPKINS
26   is and was responsible fol' the promulgation of the policies and procedures and allowance of the
27   practices/customs p1.usuant to which the acts of the employees of CRC alleged l1erei11 were committed.
28   Defendant TAMPKINS was l'esponsible to ensure appropriate staffing levels for custodial staff were



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       maintained at CRC she commanded. Defendant TAMPKINS and the other defendants have been
 2     deliberately indifferent to the danger of the spread of COVID~l9 within CIM, at least in part, by
 3     exceedingly inadequate inmate classification procedures, and inadequate employee screening procedures.
 4     As a result ofthis deliberate indifference, as in this case, Plaintiffs were exposed to COVID~ 19. Defendant
 5     TAMPKINS is being sued in her individual and official capacities.
 6             9.       Defendant KERRY OGLESBY ("OGLESBY") is, and was at all relevant times mentioned
 7     herein, the healthcare Chief Executive Officer ofCRC. Defendant OGLESBY is and was responsible for
 8     the training and supervision of all medical staff and mu·ses at CRC. Defenda11t OGLESBY is and was
 9     responsible for the promulgation of the policies and procedures and allowance of the practices/customs
JO     pursuant to which the acts of the employees of CRC alleged herein were committed. Defendant
11    OGLESBY was responsible to ensure appropriate medical care and safe protocols for containing the
I2     spread of infectious diseases were maintained at CRC. Defendant OGLESBY and the other defendants
13    , have   been deliberately indifferent to the danger of the spread of COVID-19 within CRC. at least in patt,
14     by exceedingly inadequate inmate classification procedures, and inadequate employee sci·eening
15     procedures. As a result of this deliberate indifference, as in this case~ Plaintiffs were exposed to COVID-
16     19. Defendant OGLESBY is being sued in her individual and official capacities.
17         ld.          At all times mentioned herein, Defendants· DOES 1-20 were employed as Corrections
18    Officers for Defendant STATE. and will be referred to in this Complaint as "Corrections Officer
I9    · Defendants." Plaintiffs are ignorant of the true names and capacities of Defendants sued herein   as DOES-
20     1-20, inclusive, mtd therefore sue these Defendants by such fictitious names. Plaintiffa will amend this
21     complaint to allege their true names when ascertained. Defendants DOES 1-20 are sued individually and
22     in their capacity as corrections deputies for STATE. As part of their duties, Corrections Officer
23     Defendants DOES 1-20 screened and classified inmates and determined where they should be housed,
24     whether they should be housed with othe1· inmates, and other classification decisions. By engaging in the
25     conduct described here, Corrections Officer Defendants DOES 1-20 acted under the color of law ai1d in
26     the course and scope of their employment for Defendant STATE. By engaging in the conduct desclibed
27    ·here, Corrections Officer Defendants DOES 1-20 exceeded the authority vested in them as corrections
2s·    deputies under the United States Constitution and as employees of STATE. Corrections Officer



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       Defendants DOES 1-20 and the other defendants have been deliberately indifferent to the danger of the
 2     spread of COVIDl 9 within CRC, at least in part, by exceedingly inadequate inmate classification
 3    . procedures. As a result of this deliberate indifference, as in this case, Plaintiffs were exposed to COVID-

 4     19. Con-ections Officer Defendants DOES 1-20 are being sued in their individual and official capacities.
 5          11.        At all times mentioned herein, Defendants DOES 21-30 were employed as healthcare
 6     providers, for Defendant STATE, and wiU be referred to in this Complaint as "Healthcare Provider
 7     Defendants." Included in those duties was determination of whether inmates suffered from contagious
 8     illnesses, who would require segregation from other inmates to prevent the spread of illness among
 9     inmates within CRC. Plaintiffs are ignorant of the true names and capacities of Defendants sued herein
10     as DOES 21-30, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiffs will
11     amend this complaint to allege their tnte names when ascertained. Healthcare Provider Defendants DOES
12     21-30 are sued individually and in their capacity as healthcare providers for STATE. By engaging in the
13·    conduct described here, Healthcare Provider Defendants DOES 21-30 acted under the color of law and
I4     iit the coui·se and scope of their employment for Defendant STATE. By engaging in the conduct described
15     here, Healthcare Provider Defendants DOES 21-30 exceeded the authority vested in them as prison
16     healthcare providers under the United States Constitution and as employees of STATE. Healthcare
17     Provider Defendants DOES 21-30 and the other defendants have been deliberately indifferent to the
Is·   danger of the spread of COVID-19 within· CRC, at least iri part, by exceedingly inadequate efforts and·
19    pi·ocedtires to determine whether inmates suffered from contagious illnesses, who would require
20     segregation :froni other inmates to prevent the spread of illness among inmates within the jails. As a result
21     of this deliberate indifference, as in this case, Plaintiffs were exposed to COVID-19. Healthcare Provider
22     Defendants DOES 21-30 are being sued in their individual and official capacities.
23         12.        Plaintiffs are ignorant of the true names and capacities of Defendants sued herein as DOES
24    .31H50, inclusive, and therefore sue these Defendants by such fictitious names. Plaintiffs will amend this
25     complaint to allege their true names and capacities when ascertained. Plaintiffs are informed and believe
26     and thereon allege that each of these fictitiously named Defendants is responsible in some manner for the
27     occurrences hereiri alleged, and that Plaintiffs injuries as herein alleged were proximately caused by the
28    aforementioned Defendants. Defendants DOES 31-50 are sued individually and in their capacity as



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     employees for STATE. By engaging in the conduct described here, Defendants DOES 31-50 acted under
 2   the color oflaw and in the course and scope of their employment for Defendant ,STATE. By engaging in
 3   the conduct described here, Defendants DOES 31-50 exceeded the authority vested in them under the
 4   United States Constitution and as employees of STATE, DOES 31-50 and the other defendants have been
 5   deliberately indifferent to the danger of the spread of COVID" 19 within CRC. As a result of this deliberate
 6   indifference, as in this case, Plaintiffs were exposed to COVID-19. Defendants DOES 31-50 are being
 7   sued in their individual and official capacities.
 8       13.        Plaintiffs are informed and believe and thereon allege that at all times herein mentioned
 9   each of the Defendants was the agent and employee of each of the remaining Defendants and~ in doing
10   the things hereinafter alleged, were acting within the course and scope of such agency and employment
I1       14,        Venue is proper pursuant to Code of Civil Procedure sections 394 and 395 because CRC
12   is located within this district, the action complained of herein occtmed in this district, and all other
13   Defendants are located in the district.
14                                       III.    GENERAL ALLEGATIONS
15       15.        The California Rehabilitation Center is a state prison located in Norco, California, with a
16   capacity ofhousing approximately 2,491 inmates.
17       16.         In December 2019, a new strain of Coronavirus known as COVID-19 was first observed
18   in humans in China. The virt.1s quickly spread through China and Asia and has caused a global pandemic.
19   Infection with COVID-19 is generally associated with symptoms such as fever, a dry cough, shortness of
20   breath, infection, pneumonia, and it can be fatal.
21       17.         Clinicians and public health expe1is continue to learn more about the virus and its effects
22   on the human body. The virus is primaiily spread by contact with virus-laden l'espiratory droplets expelled
23   while speaking, coughing. or sneezing. In addition to the cold- and flu-like symptoms, COVID-19
24   patients typically experience, the virus has been linked to loss of taste and smell, blood clots, severe
25   strokes, heart inflammation, cardiac arrest, acute kidney disease, intestinal damage, liver damage,
26   neurological problems, and even death.
27                   Research also shows that controlling the spread of COVID-19 is made even more difficult
28   because of the prominence of asymptomatic transmission-infection transmission by people who are


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      contagious but exhibit limited or no symptoms, rendering any screening tools dependent on identifying
 2    symptomatic behavior ineffective.
 J        19,          COVID-19 has been especially dangerous in areas of close confinement1 such as cruise
 4    ships and assisted living facilities. It follows that prisons are pmticularly vulnerable to an outbreak. In
 5    fact, prisons are at an even greater risk because of their close quarters and communal living spaces.
 6        20.          On January 30~ 2020 1 the World Health Organization declared COVID-19 a global health
 7    emergency.
 8        21.          On March 4, 2020, Governor Gavin Newsom declared a State of Emergency to make
 9    additional resources available, formalize emergency actions already underway across multiple state
10    agencies and departments, and help STATE prepare for broader spread of COVID-19.
1I        22.          Because of this looming disaster, on or about March 23, 2020, the Centers for Disease
12    Control and Prevention ('"CDC") published guidance for conectional and detention facilities to prepare
13    and ptotect inmates and personnel from the COVID-19 pandemic. The CDC's guidance included the
14    following advice for preventing the spread of COVID-19 in a correctional or detention facility:
!5              •    Perform pre-intake screening and temperature checks for aH new entrants. Screening should
16                  take place in the sallyport, before beginning the intake process, in order to identify and
17                   immediately place individuals with symptoms under medical isolation;

18              •   Facilities should ensure the availability of sufficient stocks of hygiene supplies, cleaning
19                  supplies, personal protective equipment ("PPE}'), and medical supplies that are consistent

2-0                 with the facility's healthcare capabilities (this includes liquid soap, alcohol-based hand
21                  sanitizer with at least 60% alcohol, PPB including fa.cemasks and gloves, and supplies for
22                  testing, such as sterile viral transport media and sterile swabs);
23              •   Facilities should make contingency plans in the event of PPE shortages;
24              •   Facilities should provide a no-cost supply of soap to incarcerated/detained persons, sufficient
25                  to allow frequent hand washing;

26              •   Facilities should provide alcohol-based hand sanitizer containing at least 60% alcohol;
27              •   Facilities should adhere to CDC recommendations for cleaning and disinfecting during the
28                  COVID-19 response, including cleaning and disinfecting frequently touched surfaces



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                   several times per day;
 2             •   Facilities should encourage all persons in the facility to protect themselves by practicing
 3                 good cough etiquette and good hand hygiene and avoiding touching of the eyes, nose, or
 4                 mouth;
 5             •   Facilities should encourage these behaviors by posting signs throughout the facility and
 6                 communicating the information verbally on a regular basis;
 7             •   Facilities should implement physical distancing strategies to increase the physical space
 8                 between incarcerated/detained persons, ideally six feet between all individuals, regardless of

 9                 the presence of symptoms {this should include enforcing increased space between
10                 individuals in holding cells and waiting areas, staggering time in recreation spaces,
11                 staggering meals and rearranging seating in the dining hall to increase space between
12                 individuals, liming the size of group activities, and rearranging housing spaces to increase

13                 space between individuals); and

14             •   Facilities should provide inmates with information and consistent updates about COVID-19
l5                 and its symptoms.
16       23.         Despite the danger at CRC of the spread of COVIDw 19, Defendants failed to implement
17   policies and procedures to prevent the spread of COVIDw 19 in CRC, including, but not limited to, failing
18   to limit the numbers of inmates housed together, so as to create sufficient physical distancing space,

19   failing to release low-level offender inmates who were eligible for early release to create space in CRC

20   sufficient to allow for physical distancing (situating one's self at least six feet away from other
21   individuals) failing to provide inmates with facial masks, failing to adequately keep the interiors of CRC
22   clean and disinfected, failing to provide ~ufficient disinfecting cleaners; and cleaning apparatuses, failing
23   to provide alcohol based hand sanitizer, failing to provide antibacterial soaps and cleansers, failing to
24   require CRC employees to wear face masks~ failing to require CRC employees to engage in frequent
25   hand-washing and/or hand sanitizing. Defendants knew of the risk of serious harm to Plaintiffs and were

26   deliberately indifferent to that risk, disregarding it by failing to take reasonable measures to address it.

27       24.       · According to data provided by Defendant CDCR, there were no reported positive cases of

28


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       COVID-19 until June 8, 2020. 1
 2               25.   As of April 16, 2020, reports surfaced that CRC had 72 confirmed cases ofCOVID-19, of
 3     which 51 were inmates and 21 were staff. According to statistics provided by Defendant CDCRi this was
 4     the largest outbreak of COVID-19 among all state prisons in Califomia. 2
 s               26.   Despite the danger in CRC of the spread of COVID-19, Defendants CDCR; STATE;
 6     CDCR SECRETARY RALPH DIAZ, in his individual and official capacities; WARDEN CYNTHIA Y.
 7     TAMPKINS; KERRY OGLESBY; and DOES 1-100 did not conduct an analysis of CRC records to
 8     identify particularly vulnerable inmates, in order to release them, or segregate them to prevent them being
 9     exposed to the virus.

10               27.   Despite the danger at CRC of the spread of COVID~ 19, Defendants CDCR; STATE;
11     CDCR SECRETARY RALPH DIAZ, in his individual and official capacities; WARDEN CYNTHIA Y.
12     TAMPKINS; KERRY OGLESBY; and DOES 1-100 did not conduct an analysis of CRC population to
13 ·   determine whether there are any low-level offender inmates who might be eligible for early release, so
14     that such inmates may be released from CRC to create additional space to allow for physical distancing.
15               28.   Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
16     official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100, failed
17     to implement policies and procedures to adequately screen for COVID~ 19. Defendants knew of the risk
18     of serious harm to Plaintiffs and were deliberately indifferent to that risk, disregarding it by failing to
l9     take reasonable measures to address that risk.
20               29.   Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ) in his individual and
2!     official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
22     to implement policies and procedures to adequately screen for COVID- 19 newly admitted individuals
23 ·   who were being brought into CRC for housing. Defendants knew of the risk of serious harm to Plaintiffs
24     and were deliberately indifferent to that risk, disregarding it by failing to take reasonable measures to
25     address it
26

27     1 https://www.cdcr.ca.gov/covidl 9/population~status-tracking/ (last   accessed January 30, 2021 ).
28     2   Id.



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                  30.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
 2        official capacities; WARDEN CYNTHIA Y. TAMPKlNS; KERRY OGLESBY; and DOES 1-100 failed
 3        to implement policies and procedures to adequately screen for COVID-19 im11ates who were housed in
 4        close proximity to other inmates. Defendants knew of the risk of serious harm to Plaintiffs and were
 s        deliberately indifferent to that risk, disregarding it by failing to take reasonable measures to address that
 6        risk.
 7                31.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
 8        official capacities; WAR.DEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
 9        to implement policies and procedures to adequately screen for COVID-19 among existing inmates who
10        were going to be re-housed in either different cells, tanks, units, or dorms, and/or existing inmates who
11        were going to be re-housed at CRC or another facility of STATE. Defendants knew of the risk of serious
12    ·   harm to Plaintiffs, and were deliberately indifferent to that risk, disregarding it by failing to take
13        teasonable measures to address it.
14                32.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his jndividual and
IS        official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
16        to implement policies and procedures to adequately screen for COVID-19 among CRC employees and/or
17    ·   agents, who would be entering the facility on a daily basis, and who would come into contact with other
18                '
          CRC employees and/or agents, as well as CRC inmates themselves. Defendants knew of the risk of
19        se1ious harm to Plaintiffs, and were deliberately indifferent to that risk, disregarding it by failing to take
20        reasonable measures to address it.
21                33.       Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and
22        offidal capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 failed
23.       to adequately screen for COVID-19 during the classification process of newly-arrested individuals who
24        ·were    being brought into CRC for housing.

25                34.       Healthcare Provider Defendants DOES 21-30 failed to adequately determine whether
26        inmates had COVID-19, and would require segregation from other imnates to prevent the spread of virus
27        among inmates within the jails. Healthcare Provider Defendants knew of the i'isk of serious hann to
28        Plai11tiffs 1 and- were deliberately indifferent to that risk, disregarding it by failing fo take reasonable

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         measures to address it.
 2            35.         Defendants housed imnates who were ostensibly ill with inmates who were not ill, showed
 3       no signs of illness, and had not been tested for COVID-19.
 4            36.         Plaintiffs complained to Defendants DOES 31 ~50 when an ostensibly sick inmate was
 5       brought in to be housed in their honslng units. Plaintiffs asked Defendants DOES 31-50 why a sick inmate
 6       was being housed with them. Defendants DO ES 31-50 responded with deliberate indifference, refusing
 7       to desegregate inmates with and without COVID-19 symptoms.
 8           37.          Plaii1tiffs, and other inmates who felt sick, requested to see medical staff because they felt
 9       ill, and had symptoms consistent with COVlD-19. Healthcare Provider Defendants DOES 21-30 and
10       Defendants DOES 31-50 wou1d either ignore Plaintiffs, or they would tell Plaintiffs they needed to submit
11       a medical slip request. In many cases, Defendants DOES 31-50 would not collect the slips in a timely
12       manner. When Plaintiffs and other inmates submitted requests to see medical staff, there was a delay for
13       several· days, and in some cases weeks, between when the request was made, and when Healthcare
14       Provider Defendants DOES 21-30 actually responded. Healthcare Provider Defendants DOES 21-30 and
15       Defendants DOES 31-50 knew, and had reason to know, that Plaintiffs were in need ofimmediate medical
16       care but failed to take reasonable actions to summon such medical care.
17           38.          Plaintiffs and other inmates requested to be tested for COVID-19, but Healthcare Provider
18   · Defendants DOES        21-3 0 refused them tests. Healthcare Provider Defendants DOES 21-30 knew, and had
19   .   reason to know, that Plaintiffs were in need of immediate medical care but failed to take reasonable
20       actions to summon such medical care.
21           39.          Plaintiffs and other inmates at CRC have been exposed to COVID-19 and suffered harm
22       due to the acts and omissions of Defendants committed with delibetate indifference to the well-being of
23       Plaintiffs.
24                     a. Plaintiff ARDELL MCDUFFIE'S ("MCDUFFIE") exposure to COVID-19 and

25       ongoing harm: MCDUFFIE tested positive for COVID-19 on July 1, 2020. Since mid-June 2020,

26       MCDUFFIE has beei1 experiencing COVID-19-related symptoms. including loss of taste, difficulty
27       breathing, and wheezing. After MCDUFFIE reported these symptoms to the correctional officer, he was
28       not given any 1nedication and was moved to a different facility,; one with no circulation and or sanitation.

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         Defendants have foiled to provide MCDUFFlE with adequate personal protective equipment and have

 2       prevented MCDUFFIE from maintaining physical distancing between inmates.

 3                  b. Plaintiff DANJEL CESARIO RAMIREZ'S ("RAMIREZ") exposure to COVID~l9

 4       and ongoing harm:         RAMIREZ tested positive for COVID~19 on July 10, 2020 and has been

 5       experiencing symptoms such as body aches, congestion, headache) and sinus pain. After testing positive

 6       for COVID-19 and requesting medical attention for his severe allergies, RAMIREZ was not provided

 7       any medical attention until two weeks later. CRC did not implement appropriate physical distancing
 8       measures, and non-prisoner staff and officers did not wear masks. Defendants' failure to provide

 9       appropriate safeguards and deliberate indifference for the lives and well-being of RAMIREZ and other

Io       inmates resulting in dozens of confirmed cases in RAMIREZ'S dorm alone.

11                  c. Plaintiff DEMETRIUS ROGERS' ("ROGERS") exposure to C0VID~19 and

12   .   ongoing harm: ROGERS tested positive for COVID-19 on July 6, 2020 and has been experiencing

13       symptoms such as headaches, shorh1ess of breath, and loss of taste and smell. ROGERS has still not
l4       regained his sense of taste and smell. ROGERS also has the underlying condition asthma, of which CRC

15       was aware. After testing positive for COVID-19 and informing medical staff that he was having difficulty
16       breathing, particularly because of his known underlying asthma condition~ ROGERS was not provided

11       medical attention and was not seen by a doctor. CRC, TAMPKINS, and OGLESBY failed to provide
18   . appropriate personal protective equipment to         ROGERS and forced him to continue living in close
19       quarters, making it impossible to maintain social distancing.

20           40,         As a direct and proximate result of Defendants' acts and omissions, as described above,

21       Plaintiffs were exposed to COVID-19 while incarcerated in CRC.

22           41.         As a direct and proximate result of the acts and/ot omissions of Defendants in exposing

23       Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,

24       cough, shortness of breath~ difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,

25       loss of smell, sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and

26       pressure in the chest. In addition, Plaintiffs have suffered iltjuries and emotional distress of the nature and

27       type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
28       but not limited to, suffering anguish, fright; hon-or, nervousness, grief, mudety, worry, shock, humiliation


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      and shame.

 2          42.          Plaintiffs were traumatized by the fear of developing COVID~ 19 due to their confinement
 3    in prison 24 hours per day, where adequate measures were not being taken to prevent the spread of the
 4    virus.
 5          43.           Furthermore, as public health experts and physicians leam more about the myriad ways
 6    COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
 7    unce1tainties that require and will continue to require medical diagnostic exams.
 8          44.           On September 18, 2020, Plaintiffs exhausted thefr administrative remedies.
 9          45.          Between October 7, 2020, and January 8, 2021. Plaintiffs filed timely claims and appeals
1O    for damages with Defendant STATE pursuant to the applicable sections of the California Government
11    Code § 900, et seq.

12          46.           Defendant STATE r~jected Plaintiffs' claims between December 14, 2020 and
13 _Decemberr6, 2020.
14                                            IV.       FIRST CAUSE OF ACTION
15                                                       42 u.s.c. § 1983
16         47.           Plaintiffs re-allege and incorporate by reference all previous allegations as though set tenth
17    in full herein.
18                                   Conditions of Confinement-Eighth Amendment
19          4-8.        - 42 U.S.C. § 1983 provides that any- person or persons who, under color of state law,
20    deprives another of a11y rights, privileges, or immunities secured by the Constitution or laws of the United
21   · -S1ates   shall be Hable to the injured party.
22         49.           Under the Eighth Amendment, a convicted prisoner has the right to be free from Hcruel
23    and unusual punishments."
24          50.          At all times relevant, Plaintiffs faced a substantial risk of serious harm, and a serious
25    medical need.
26          S1.          Defendants we1·e deliberately indifferent to those risks and medical needs. Defendants
27    knew of the risks and medical needs and disregarded those risks and needs by failing to take reasonable
28    measures to address them. The Supreme Court has recognized that officials may not be "deliberately



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         indifferent to the exposure of inmates to a serious, communicable disease." (Helling v. McKinney
 2       symptoms." (Id.; see also Hutto v. Finney (1978) 437 U.S. 678, 682 (finding Eighth Amendment violation
 3       and noting incarcerated people were placed in conditions where infectious diseases could spread easily).)
 4       Failure to prevent the spread of a contagious illness constitutes deliberate indifference to a serious medical
 5       need. (See Hutto, supra, 437 U.S. at 682; Gates v. Collier (5th Cir. 1974) 501 F.2d 1291, 1300, 1303
 6       (holding plaintiffs entitled to relief under Eighth Amendment due to, among other conditions, allowing
 7       "inmates with serious contagious diseases ... to mingle with the general prison population"). It is well
 8       established that the Government may not "ignore a condition of confinement that is sure or very likely to
 9       cause serious illness." (Hellingt supra, 509 U.S. at 33. See Brown v, Plata (2011) 563 U.S. 493, 508~09,
1O       519-20 (affirming population reduction order and citing findings that ''[o]vercrowding had increased the
II       incidence of infectious disease" in California prisons, and that crowded living quarters "where large
12       numbers of prisoners may share just a few toilets and showers [were] 'breeding grounds for disease"').)
13            52.        As a direct and proximate result of Defendants' acts and omissions, as described above,
14       Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
15            53.        As a direct and proximate result of the acts and/or omissions of Defendants in exposing
16       Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
17       cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
18       loss of smell, sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and
19       pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
20       type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
21   .   but not limited to, suffering anguish. fright, honor, nervousness, grief, anxiety, worry, shock, humiliation
22       arid sha111e.

23            54.        Plaintiffs were traumatized by the fear of developing COVID-19 due to their confinement
24       in prison 24 hours per day, where inadequate measures were being taken to prevent the
25            55.        Furthermore, as public health experts and physicians learn more about the myriad ways
26       COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
27       uncertainties that require and will continue to require medical diagnostic exams.
28            56.        The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPHDIAZ, in his

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      it1dividual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; OGLESBY KERRY
 2    OGLESBY; and DOES 1~100 was oppressive, and Defendants acted with l'eckless and callous
 3    indifference to the federally protected rights of others. As such, Defendants' actions justify an awatd of
 4    punitive damages in an amount to be determined at the time of trial.
 5                              Conditions of Confinement-Fourteenth Amendment

 6        57.          42 U.S.C. § 1983 provides that any person or persons who, undet· color of state law,
 7    deprives another of any rights, privileges, or immunities secured by the Constitution or laws of the United
 8    States shalt be liable to the injured party.
 9        58.          Defendants failed to provide safe conditions of confinement in CRC. The Supreme Court
10    has recognized that officials may not be "delibe1·ately indifferent to the exposure of inmates to a serious,
11    communicable disease." (Helling v. McKinney (1993) 509 U.S. 25, 33.) This is true even when "'the
12    complaining inmate shows no serious current symptoms." (Id; see also Hutto v. Finney (1978) 437 U.S.
13·   678,682 (finding Eighth Amendment violation and noting incarcerated people were placed in conditions
14    where infectious diseases could spread easily).) Failure to pl'event the spread of a contagious illness
15·   constitutes deliberate indifference to a serious medical need. (See Hutto. supra, 437 U.S. at 682; Gates v.
16    Collier (5th Cir. 1974) 501 F.2d 1291, 1300, 1303 (holding plaintiffs entitled to relief under Eighth

17    Amendment due to~ among other conditions, allowing ''inmates with serious contagious diseases ... to
18    mingle with the general prison population"). It is well established that the Government may not "ignore
19    a condition of confinement that is sure or very likely to cause serious illness." (Helling, supra, S09 U.S.
20·   at 33, See Brown v. Plata (2011) 563 U.S. 493,508, 09, 519~20 ( affirming population reduction order
21    and citing findings that "[o]vercrowding had increased the incidence of infectious disease" in Califomia

22    pl'isons, and that crowded living quarters "where large numbers of prisoners may share just a tew toilets
23    and showers [were] 'breeding grounds for disease''"),)
24       ··· 59.       Defendants made an intentional decision regarding the conditions under which Piaintiffs
25    were confined.
26         60. ·       The conditions of confinement put Plaintiffs at substantial risk of suffering serious harm.
27         61. ··      Defendants did not take reasonable available measures to abate or reduce the risk of
28    serious harm, even though a reasonable officer under the circumstances would have understood the high



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      degree of risk involved-making the consequences of Defendants' conduct obvious.
 2        62.         As a direct and proximate result of Defendants' acts and omissions, as described above,
 3    Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
 4        63.         As a direct and proximate result of the acts and/or omissions of Defendants in exposing
 s    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
 6    cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
· 7   loss of smellJ sore throat; congestion, runny nose. nausea, vomiting, diarrhea, and persistent pain and
 8    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
 9    type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
I0    but not limited to, suffering anguish, fright, hon-01\ nervousness, grief, anxiety, worry, shock, humiliation
11    and shame.

12        64.         Plaintiffs were trai1111atized by the fear of developing COVID-19 due to their confinement
13    in prison 24 hours per day, where inadequate measures were being taken to prevent the
14        65.         Furthem10re, as public health experts and physicians learn more about the myriad ways
15    COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
16    unce11ainties that require and will continue to require medical diagnostic exams.
17        66.         The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his
18    individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and
J9    DOES 1-100 was oppressive, and Defendants acted with reckless and callous indifference to the federally
20    protected rights of others. As such, Defendants• actions justify an award of punitive dari1ages in an
21    atnount to be determined at the time of trial.
22        67.         As a direct and proximate result of Defendants• acts and omissions; as described above,
23    Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
24        68.         As a direct and prnximate result of the acts and/or omissions of Defendants in exposing
25    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
26    cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
27    loss of smell, sore throat, congestio11, runny nose, nausea, vomiting, diarrhea, and persistent pain and
28    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and



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     type that reasonable persons would suffer under the circumstances alleged in this Complaint; including,
 2   but not limited to, suffering anguish, fright, horror, nervousness, grief, anxiety, worry, shock, humiliation
 3   and shame.
 4       69.           Plaintiffs wete traumatized by the fear of developing COVID-19 due to their confinement
 5   in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the
 6   vrrus,

 7       70,           Furthermore, as public health experts and physicians learn more about the myriad ways
 8   COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
 9   uncertainties that require and will continue to require medical diagnostic exams.
10       71.           The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his

11   individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and
12   DOES 1-100 was oppressive, and Defendants acted with reckless and callous indifference to the federally
13   protected rights of others. As such, Defendants' actions justify an awal'd of punitive damages in an
14   amount to be determined at the time of trial.
15                                        v.      SECOND CAUSE OF ACTION

16                            MONELL LIABILITY PURSUANT TO 42 U.S.C. § 1983
17       72.           Plaintiffs re-allege and incorporate by reference alt previous allegations as though set forth

18   in full herein.
19       73.           Defendants, by and through their supervising· and managerial employees, agents, and
20   representatives, deprived Plaintiffs of the rights and liberties secured to them by the Fotirth Amendment
21   of the United States Constitution by acting with gross negligence and reckless, deliberate indifference to
22   the rights and libe1iies of Plaintiffs and persons in their class; situation, and comparable position. In
23   particular, Defendants knowingly maintained, enforced, and applied an official, recognized set of CDCR
24   customs, policies, and practices that:

25             • Failed to provide a no-cost supply of soap to incarcerated/detained persons, sufficient to allow

26             frequent hand washing;
27             • Failed to provide alcohol-based hand sanitizer containing at least 60% alcohol;

28             • Failed to adhere to CDC recommendations for cleaning and disinfection during the COVID-19


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                response, including cleaning and disinfecting frequently touched sUl'faces several times per day;
 2              • Failed to encotll'age all persons in the facility to protect themselves by practicing good cough
 3              etiquette and good hand hygiene and avoiding touching of the eyes. nose, or mouth;
 4              • Failed to encourage these behaviors by posting signs throughout the facility and regularly
 5              communicating that information verbally;
 6              • Failed to implement physical distancing strategies to increase the physical space between

 7              incarcerated/detained persons (ideally 6 feet between all individuals, regardless of the presence
 8              • Failed to provide inmates with information and consistent updates about COVID-19 and its
9               symptoms;
lO              • Failed to test inmates for COVID-19, and segregate inmates who test positive from other
II              inmates;
12              • Failed to test 11ew incoming inmates for COVID-19, and segregate those who test positive from
13              other inmates;
14              • Housing ostensibly sick inmates with imnates who were not sick and who had not tested positive
15              for COVID-19;

16              • Plach1g inmates who had had co11tact with inmates who later tested positive for COVID- 19 with
17              inmates who were ostensibly sick, or who tested positive for COVID-19; and
18              • Failing to promptly and adequately test CRC employees for COVID-19 before al1owing the
19              employees to enter CRC and spread the virus.
20        74.          By reason of the aforementioned policies and pl'actices of Defendants, Plaintiffs have
21   · contracted COVID-19, and have suffered severe pain and suffering, me11tal anguish, humiliation, and

22    emotional distress.
23        75.          Defendants~ together, with various other officials, whether named, or unnamed, had either
24    actual or constructive lmowledge of tlw deficient policies, practices, and customs, alleged in the
25    paragraphs above. Despite having knowledge as stated above, these Defendants condoned, tolerated, and
26    through actions and inactions thereby ratified such policies. Defendants also acted with deliberate
27   ·indifference to the foreseeable effects and consequences of these policies with respect to the constitutional
28    rights of Plaintiffs, and other individuals similarly situated.

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           76,        By perpetrating, sanctioning, tolerating and ratifying the outrageous conduct and other

 2   wrongful acts, Defendants acted with intentional, reckless, and callous disregard for the well-being of

 3   Plaintiffs, and their constitutional and human rights. Defendants and each of their actions were willful,

 4   wanton; oppressive, malicious, fraudulent, and extremely offensive and unconscionable to any person of

 5   normal sensibilities.

 6         77.        Furthermore, these policies, practices and customs implemented and maintained and still

 7   tolerated by Defendants were affirmatively linked to and were a significantly influential force behind

 8   Plaintiffs' injuries.

 9         78,        Accordingly, Defendants each are liable to Plaintiffs for compensatory damages under 42

10   u.s.c. § 1983.
lI         79.        As a direct and proximate result of Defendants• acts and omissions, as described above.

12   Plaintiffs were exposed to COVID~ 19 while incarcerated in CRC.

13         80.        As a direct and proximate result of the acts and/or omissions of Defendants in exposing

14   Plaintiffs to actual risk of immediate physical injury; Plaintiffs became ill1 suffering from fever, chills,

15   cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,

l6   loss of smell, ·sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and

17   pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and

18   type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,

19   but not limited to, suffering anguish, fright, hon-or, nervousness, grief, anxiety, wony, shock, humiliation

20   and shame.

21         81.        Plaintiffs were traumatized by the fear of developing COVID- 19 due to their confinement

22   in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the

23   virus.

24         82.        Furthermore, as public health expe11s and physicians learn more about the myriad ways

25   COVID~l9 attacks and damages the body, Plaintiffs develop new and evolving medical fears and

26   uncertainties that require and will continue to require medical diagnostic exams.

27   ///

28   ///


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 1                                          VI.     THIRD CAUSE OF ACTION
 2                              DANGEROUS CONDITION ON PUBLIC PROPERTY
 3                                                  [GOV, CODE§ 835]
 4        83.           Plaintiffs re-allege and incorporate by reference all previous allegations as though set forth
 5    in full herein.
 6        84.           Defendants ownedt ran, operated, or controlled CRC.
 7        85.           CIM was in a dangerous condition at all times mentioned in this Complaint. CRC has
 8    individual smallt cells with two to four inmate bunk style beds per cell and/or dorm rooms, which housed
 9    over forty inmates in a single roomt with bunk style beds approximately three feet apart in distance
10    between the beds. The above-described conditions made it impossible for inmates to practice physical
lI    distancing by maintaining six feet of distance from other inmates. Prison cells with indivip.ual, small,
12    cells with two to four inmate bunk style beds per cell were especially dangerous because Plaintiffs were
13    locked in extremely close quarters with other inmates, which made it impossible to avoid other inmates'
14    virus-laden droplets expelled while speaking, coughing, or sneezing. Prison cells with dorm rooms, which
15    housed over 40 inmates in a single room, with bunk style beds approximately three feet apa11 in distance
16    between the beds, were also d,angerous because Plaintiffs were locked in a room with over 40 inmates)
17    which made it impossible to avoid other inmates' virus-laden droplets expelled while speaking, coughing,
18    or sneezing.
19·       86.           The dangerous condition created a reasonably foreseeable risk of the kind of injury that
20        87.           The negligent or wrongful conduct of Defendants acting within the scope of their
21    employment created the dangerous condition.
22        88.           The Defendants had notice of the dangerous condition for a long enough time to have
23    protected against it.
24        89.           As a direct and proxiinate result of Defendants' acts and omissions, as described above,
25    Plaintiffs were exposed to COVID-19 while incarcerated in CRC.
26        90.           As a direct and proximate result of the acts and/or omissions of Defendants in exposing
27    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,

28    cough, .sho1iness·ofbreath, difficuity breathing, fatigue, muscle and body aches, headache, loss of tastet



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     loss of smell, sore throat, congestion, runny nose, nausea, vomiting, dian·hea, and persistent pain and
 2   pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
 3   type that reasonable persons would suffer under the circumstances alleged in this Complaint, including,
 4    but not limited to, suffering anguish, fright, hon-or, nervousness, grief, anxiety, worry, shock, humiliation
 5   and shame.
 6          91.        Plaintiffs were traumatized by the fear of developing COVID-19 due to their confinement
 7   in. prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the

 8   virus.
 9          92.        Furthermore, as public health expe1ts and physicians leam more about the myriad ways
10   COVID-19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and
II   uncertainties that require and will continue to require medical diagnostic exams.
12          93.        The dangerous condition was a substantial factor in causing Plaintiffs' harm.
13          94.        Defendant STATE is liable for the acts of Defendants pursuant to Government Code§
14    815.2(a), whichpl'ovides that a public entity is Hable for injury proximately caused by an act or omission
1s   of an employee of the public entity within the scope of his employment if the act or omission would;
16   apart from this section, have given rise to a cause of action against that employee or his personal
17   representative.
18          95.        Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his individual and.
19   , official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY;                       and DOES 1-100 are
20   liable pursuant to Government Code section 844.6(d), which provides that nothing in Section 844.6
21   exonerates a public employee from liability for injury proximately caused by his negligent or wrongful
22   act or omission.
23          96.        The conduct of Defendants CDCR; STATE; CDCR SECRETARY RALPH DIAZ, in his
24   individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and

25   DOES ·1-100 was oppressive, and in reckless disregard of Plaintiffs' tights. As such, Defendants' actions
26   justify art award of punitive damages in an amount to be detennined at the time of trial.
27   JI/
28   ill.


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                                            VII.    FOURTH CAUSE OF ACTION
 2                                                     NEGLIGENCE
 3         97.           Plaintiffs re"allege and incorporate by reference all previous allegations as though set forth
 4    in foll herein.

 5         98.           The Defendants owned Plaintiffs a duty of care to protect them from the risk of contracting
 6    COVID-19 while incarcerated in CRC.
 7         99.          The Defendants breached their duty owed to Plaintiffs.
 8       100.           As a direct and proximate result of Defendants' acts and omissions, as described above,
 9    Plaintiffs wel'e exposed to COVID· 19 while incarcerated in CRC.
10       101.           As a direct and proximate result of the acts and/or omissions of Defendants in exposing
11    Plaintiffs to actuaJ risk of immediate physical injury, Plaintiffs became ill, suffering from fever, chills,
12   • cough,    shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
13    loss of smell, sore throat, congestion, runny nose, nausea, vomiting, diarrhea, and persistent pain and
14    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
I5    type that reasonable persons would suffer unde1· the circumstances alleged in this Complaint, including,
16    butnot limited to, suffering anguish, fright, horror, nervousness, griefi anxiety~ wony, shock, humiliation
11    and shame.
18       102.           Plaintiffs were traumatized by the fear of developing COVID-19 due to their confinement
19    in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the
20    virus.
21       103.           Furthermore, as public health experts and physicians learn more about the myriad ways
22    COVID~ 19 attacks and damages the body, Plaintiffs develop new and evolving medical fears and

23    u'ncertainties that require and will continue to require medical diagnostic exams.
24       104,           STATE and CDCR' s employees' negligence was a substantial factor in causing Plaintiffs'
25    harm.
26       105.           Defendant STATE is liable for the acts of Defendants pursuant to Government Code§
27    8 I 5.2(a), which provides that a public entity is liable for injury proximately caused by an act or omission
28   • ofan    employee of the public entity within the scope of his employment if the act or omission would;


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     apart from this section, have given rise to a cause of action against that employee or his personal
 2   representative.
 3      106.           Defet1dants CDCR SECRETARY RALPH DIAZ, in his individual and official capacities;
 4   WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 are liable pursuant to
 5   Government Code section 844.6(d), which provides that nothing in Section 844.6 exonerates a public
 6   employee from liability for injury proximately caused by his negligent or wrongful act or omission.
 7      107.           Defendants are liable pursuant to Government Code section 845.6, which provides that a
 8   pt1blic entity and a public employee are Jiable if the employee knows or has reason to know that a prisoner
 9   is in need of immediate medical care and he fails to take reasonable action to summon such medical care.
IO      108.           The conduct of Defendants CDCR SECRETARY RALPH DIAZ, in his individual and
11   official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 was
12   oppressive, and in reckless disregard of Plaintiffs' rights. As such, Defendants' actions justify an award
13   of punitive damages in a:n aniount to be determined at the time of trial.
14                                         VIII. FIFTH CAUSE OF ACTION
15                          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
16      109.           Plaintiffs re-allege and incorporate by reference all previous allegations as though set forth
I7   in full herein.
18      110.           Defendants knew or should have known of the actual risk of a viral outbreak of COVID-
19   19 in CRC. Defendants k11ew or should have known that it was especially dangerous to expose :Plaintiffs
20   to COVID~19.
21      ll1.           Nevertheless, Defendants acts and/or omissions, a$ described above, created a dangerous
22   and threatening environment in which Plaintiffs were forced to live for month after month, at all times
23   'directly at risk of becoming infected with, made ill by, and/or spreading COVID" 19.
24      112.           As the direct and proximate result of Defenda11ts' actions and omissions. Plaintiffs were
25   in the "zone of danger." where they were at immediate risk of actual physical hmm, including the potential
26   of contracting COVID-19, suffering frotn the illness-including expedencing shortness of breath,
27   coughing, body aches, fever, and/or any number of yet-to-be identified future ailments, such as liver
28   damage, kidney failure, or blood clotting- and potentially death as a result of the virus.


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         113.           As a direct and proximate result of the acts and/01' omissions of Defendants in exposing
 2    Plaintiffs to actual risk of immediate physical injury, Plaintiffs became ill, suffering from fevel', chills,
 3    cough, shortness of breath, difficulty breathing, fatigue, muscle and body aches, headache, loss of taste,
 4    loss of smell, sore throat, congestion, runny 11ose, nausea, vomiting, diarrhea, and persistent pain and
 5    pressure in the chest. In addition, Plaintiffs have suffered injuries and emotional distress of the nature and
 6    type that l'easonable persons would suffer under the circumstances alleged in this Complaint, including,
 7    but not limited to, suffering anguish, fright, hon-or, nervousness, giief, anxiety, worry, shock, humiliation
 8    and shame.

 9       114.           Plaintiffs were traumatized by the fear of developing COVID~ 19 due to their confinement
1o    in prison 24 hours per day, where inadequate measures were being taken to prevent the spread of the
11    virus.
12       115.           Furthermore, as public health experts and physicians learn mote about the myl"iad ways
13    COVID-19 attacks and damages the body, Plaintiffs develop new aiid evolving medical fears and
14    uncertainties that require and will continue to require medical diagnostic exams.
15       116.           Defendant STATE is liable for the acts of Defendants pursuant to Government Code §
16    815.2(a), which provides that a public entity is liable for injiu-y proximately caused by- an act or omission
17    of an employee of the public entity within the scope of his employment if the act or omission would,
18    apart from this section, have given rise to a cause of action against that employee or his personal
19·   representative.
20       117.           Defendants CDCR SECRETARY RALPH DIAZ, in his individual and official capacities;
21    WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 are liable pursuant to
22    Government Code section 844.6(d), which provides that nothing in Section 844.6 exonerates a public _
23    employee from liability for injury proximately caused by his negligent or wrongful act or omission.
24       l 18.          Defendants are liable pursua11t to Government Code section 845.6, which provides that a
25    public entity and a public employee are liable if the employee knows ot has reason to know that a prisoner
26    is in need of immediate rnedical care and he fails to take reasonable action to summon such medical care.
27       119.           The conduct of Defendants CDCR SECRETARY RALPH DIAZ, in his individual and
28    official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY OGLESBY; and DOES 1-100 was

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     oppressive, and in reckless disregard of Plaintiffs, l'ights. As such~ Defendants, actions justify an award
 2   of punitive damages in an amount to be determined at the time of trial.
 3                                            IX.     PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiffs ARDELL MCDUFFIE) DANIEL CESARIO RAMIREZ, and
 5   DEMETRIUS ROGERS pray for judgment against Defendants as follows:

 6         1.     For damages according to proof;

 7         2.     For interest as allowed by law;

 8         3.     For reasonable attornefs fees pursuant to 42 U.S.C. § 1988;
 9         4.     For costs of suit incu11'ed by Plaintiffs; and

10         5.     For punitive damages in an amount appropriate to punish Defendants CDCR SECRETARY

11   . RALPH    DIAZ, in his individual and official capacities; WARDEN CYNTHIA Y. TAMPKINS; KERRY
12   OGLESBY; and DOES 1~100 and deter others from engaging in similar misconduct.

13                                       x.         DEMAND FOR JURY TRIAL

14         Plaintiffs hereby demand a trial by jury in this case.

15

16   Dated: March 29t 2021                            SHEGERIAN & ASSOCIATES, INC.
17

18                                             By:

19
                                                      Attorneys for Plaintiffs ARDELL
20                                                    MCDUFFIE, DANIEL CESARIO
                                                      RAMIREZ, and DEMETRIUS ROGERS
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                                          COMPLAINT FOR DAMAGES
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   Carney R. Shegerian. Esa, (SBN 150461)
   Shee:el'ian & Associates. Inc.
   145 S. Sprlnp; Stl'eet, Suite 400, Los Anp;eles, California 90012
      TEL5PHONE NO.; (3] 0)860-0770
 ATTORNEY FOR (Nam&):           •   "ffs. A ell
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  CASE NAME:
                           Riverside Historic Courthouse

McDuffie, et al. v. California D artment of Corrections and Rehabilitation, et al,
     CIVIL CASE COVER SHEET                                      Complex Case Deslgnatton
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[8] Unlimited                   D     J..imlted ·           D      Counter      D     Joinder               CVRB 2101568
        (Amount                       (Amount
        demanded           demanded is          Filed with first appearance by defendant Juooi.:
        exceeds $25,000)   $25,000 or less)          (Cal, Rules of Court, rule 3.402)          PEPi:
                              Items 1-6 below must be oomplefed see instructions on page 2).
1. Check one box below for the case type that best describes this case:
   Auto Tort                                   Contract                                Provrsronally Complex Civil litigation
   D    Auto (22)                                        D
                                                     Breach of conlracl/warranty (06)  (Cal. Rules of Court, rules 3.400-3,403)
   D      Uninsured motorist (46)                        D  Rule 3.740 collections (09)           D     AntilruslfTrade regulation (03)
   Other Pl/PD/WO !Personal lnJuty/Property              D   Other collecllons (Ci9)              D     Construction defect (10)
   Damage/Wrongful Death) Tort                           D  Insurance coverage (18)               D     Mass tort (40)

   B     Asbestos (04)
        · Product liablHly (24)
                                                         D   Other contract (37)
                                                      Real PropJrty
                                                                                                  D
                                                                                                  D
                                                                                                        securities litigation (28)
                                                                                                        Envlronmentalffoxic tort (30)
    0     Medical malpracllce (45)                       0  Eminent domain/Inverse                D     Insurance co11erage claims arisirg from Iha
    [&I· Other Pl/PD/WO (23)                                conderimatlon (14)                          above llsted prc\lislonally complex case
    Non•PIIPDIWD {Other) Tort                            D  WrorJgful eviction (33)                     types (41)
   D                                                     D
   B-
          Business tort/unfair bualness practice (07)       Other real property (28)              Enforcement of Judgment
          Civll rights (OB)                           Unlawful Detainer                           D     Enforcement of Judgment (20)
          Defamation (13) - ·                            D   Commercial (31)                      Mfscellaneous Civil Complaint
   D      Fraud (16)                                     D  Resldenlial (32}                      0     RlC0(27)
   D      Intellectual property (19)                     D  Drugs (38)                            D     Other complalnl (not specified above) (42)
   D      Professional negligence (25)                Judicial Review                             Mlscellaneous CMI Petition
    D     Other non-Pl/PD/WO tort .(35)                  D  Asset forfeiture (05}                 D     Partnership and carµorale govemance (21)
    ~loyment                                             D  Petition re: arbllrallon award (11)   D     Other petltlo11 (not specmed above) (43)
  . LJ Wrongful termination (36}                         D  Writ of mandate (02)
   D     Olher employmBnt {15)                              Other judicial review 3
2. This case          is           ls not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
    a. CZI Large number of separately represented parties          d.         rn
                                                                           Large number of witnesses
    b. CZI Extensive motfon practice raising difficult or novel    e. D Coordination with related actions pending in one or more courts
             issues that wlll be lime-consuming to resolve                 in other counties, states, or countries, or ln a federal court
    c. [2s Substantial amount of documentary evidenoa              f.         D
                                                                           Substantial posljudgmentjudicial supervision
3. Remedies sought (check alt that apply): a.[ZJ monetary b. [21 nonmonetary; declaratory or injunctive relief                                                    c.     rn punitive
4. Number of causes of acticm (specify): Five (5) causes of action
5. This case O is                   rn
                                 Is not a class action suit.           .
6. If there-are any"k_nown related cases, file and serve a nollce ofrelated ca
Date: Mai·ch29, 202-1
Camey R, Sheaerie.n, Esct,
                 (TYPE OR PRINY NMIE)
                                                                            NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small cl · cases or cases flied
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220,) Failure lo file may result
    ~~00~~                                                   '
  • File this cover sheet fn addition to any cover sheet required by local court rule.
  • If this case is complex under rute 3.400 et seq. of the California Rules of Court. you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless t~is Is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on!Ya. e 1 or
F0110Adopt~d rorManaatory usa                             CIVIL CASE COVER SHEET                             Cul. Rufus of cour1. rules 2.30, 3.220,MOD4.403, 3,740;
  Judiclal Cound!CICalif~mla                                                                                              Cal, Standards ofJutllclalAd01lnlstratton, std, 3.10
   CM·D\0(Rev, Jul, 1,2001)                                                                                                                            ,,.,v,.:0µ1~nlo,ca.gw
            Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 63 of 70 Page ID #:63


                                                                                                                                             CM-010
                                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. if you are filing a first paper (for example, a complaint) In a civil case, you must
 complete and flla, along with your first paper, the CMJ Case Cover Sheet contained on page ·1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete Items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more speolflo type of case listed in Item 1,
check the more specific one. If the case has mulllple causes of acUon, check the box that best Indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type In item 1 are provlded below. A cover
sheet must be filed only with your Initial paper. Failure to file a cover sheet with the first paper filed In a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3,220 of the Callfomla Rules of Court.
To Parties ln Rule 3.740 Collections Cases. A ~conectlons case• under rule 3.740 is defined as an action for recoveiy of money
owed in a sum stated to be certain that Is not more than $25,000, excluslve of interest and attorney's fees, arising from a transaction In
which property, services, or money was acquired on credll A c:ollecllons case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The Identification of a case as a rule 3.740 collections case on this form means that it wlll be exempt from the general
tlme.for-seivlce requirements and case management rules, unless a defendant flies a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a Judgment In rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use ihe CIVil Case Cover Sheet to designate whelher the
case is complex. If a plaintiff believes lhe case is complex under rule 3.400 of the California Rules of Court, this must be Indicated by
completing the appropriate boxes In items 1 and 2. If a plaintiff designates a case as oomplex, tha cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of Its first appearance a joinder in the
plalntifrs designation, a counter-d eslgnatlon that the case is not complex, or, If the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                         Conlract                                          Provlslonally Complex Clvll Litigation {Cid.
     Auto (22)-Personal Injury/Property              Breach of Contract/Wammty (06)                 Rules of Court Rules 3.400-3.403)
         Damage/Wrongful Death                           Breach of Rental/Lease                           Anli!rust/Trade Regulation (03)
    Uninsured Motorist (46) (If the                               Contract (not unla~I detainer             Conslructlon Defect (10)
         case involves an uninsured                                   or wrongful eviction)                 Claims Involving Mas11 Tort (40)
         motorist claim sub)eat to                           Contract/Warranty Breach-Seller                Securities Litigation {21!)
         aJbJtratton, chsck this Item                             Plaintiff (not fraud or negligenC'1)      Envlronmentalrroxic Tort (30,
         Instead of Auto)                                    NegUgent Breai;h of Contract/                  lnsurance Coverage Clalm!i'.
Other .PIIPDIWD (Personal Injury/                                 Warranty                                      (arising from provlslonally complex
Property Damage/Wrongful Death)                              Other Breach of Contract/Warranty                  oase type listed above) (41)
Tort                                                     Collections (e.g., money owed, open             Enforcement of Judgmtnt
      Asbestos (04)                                          book a?®unts) (09)                             Enforcement of Judgment (20)
         Asbestos Properl,'y Damage                          Collect1<m Case-Seller Plaln~                      Abslraot of Judgment (Out of
         Asbestos Personal Injury/                           Other Promissory Note/Coller.:trons                    County)
              Wrongful Death                                      Case                                          Confession of Judgment (nr;m-
      Product Uablllty (nol asbestos or                  Insurance Coverage (not provlsianaJIY                      domestic re/allons)
         toxic/environmental) (24)                           complex) (18)                                       Sister State Judgment
      Me"dfcalMaipracllce (45)                               Auto subrogation                                    Admlnls!rallve Agency Award
          Medical Malpractice,.;.                            Other Coverage                                         (not unpaid taxes) -
                 Physlclans & Surgeons                   Olher Contract {37)                                     Petition/Certlt!catlon of Entry of
           Other Professional Health Care                    Contractual Fraud                                      Judgment on Unpatd Taxes
                 Malpractice                                 Other Contract DI$J;1Ule                            Other Enforcement of judgment
                                                                                                                     Case
       Olher F'llPDJWD (23)                          Real Property
          Premises Llabtllly (e.g., slip                l;mlnent Domainilmterae                          Mlacellaneous Clvll Complaint
                 and fall) ·        · ·                      COndemnation {14)                              RICO (27)
            lntentlonal Bodily Injury/PP/WO              Wrongful Eviction (33)                             Other Complaint (not speclf1ed
                                                                                                                 above) (42)
                 (e.g., ai;:saull, vandaUsm)             Olher Real Property {e.g., quiet title) (26}
            lntentfonal ln.rnctlon of                        Writ of Possession of Reel Property                 Declaratory Reltef Only
                                                                                                                 Injunctive Rellef Ollly (non-
                Emotional Distress                           Mortgage Foreclosure                                     harassment}
            Neg_ligent Infliction of                         Quiet litle
                   Emotional Distress                        other Real Property (not eminent
                                                                                                                 Mechanics Lien
        Other Pi/PD/WD                                       domain, landlord/fsnan!, or                         Other Commercial Complaint
                                                                                                                      Case (non-tortlnon-c:omplex)
Non•PIJPD/WD {Other) Tort                                    forecl0$Ur&)
                                                                                                                 Other CiVil Complaint
       Business Tcrt/Unfair Business                 Unlawful Detainer                                             · (non-tort/non-complex)
         Practice {07)      ·                           Commercilal (31)                                 Miscell;ineous Civil Petition
       Civil Rights (e.g., discrimination,              Residenllal (32)                                    Partnership and Corporate
           false _arrest) (nol cMf                       Drugs (38) (iftha ca_se involves Illegal                Governance (21)
            harassment) (08)                                 drugs, check this item; otherwise,              Other Petition (not spec/lled
       Defamation (e.g., slander, llbe,)                     report aa Commsn:lal or Resldenffali               above) {43)
             (13)                                    Judicial Review                                            Civil Harassment
   Fraud (16)                                           Asset Forfeiture (05)                                   Workplace Vlolance
   lnl4i!lllalcwal PrQperty (19)                         Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
   Professional Negligence (25)                          Writ of Mandate (0.2)                                        Abuse
        Legal Malpractlce                                    Wrlt-Admln!stratlve Mandamus                        EieoUon Contest
        Other Professional Malpractice                       Writ-Mandamus on Limited Court                      Petition for Name Change
               (not med/eel or legs/)                           Case Matter                                      Petition for Rellef From Late
    Other Non-Pl/PD/WO Tort (35}                             Writ-Other Limited Court Case                            Claim
Employment                                                      Review                                           O(her Ctvll Pelltlon
   Wrongful Termination £36}                             Other Jud[clal Re'liew (39)
   Other Employment (1 S)                                   Review of Health Officer Order
                                                            Notice of Appeal-Labor
                                                                qommissioner Appeals
CM-011.1 (Rev. July 1, 2007J
                                                         CIVIL CASE COVER SHEET
                Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 64 of 70 Page ID #:64


                                                                                      COPY.    .
                                                   SUJ!IERIOR COURT OF CALlFORNIA, COUNTY OF RIVERSIDE

□      BANNING 311 E. Ramsey SI., Banning, CA B2220                                   0     MURRIETA 30756-D Auld Rd., Suile 122B, Murrieta, CA 92563
□      BLYTHE 265 N. Broadway, Blythe, CA 92225                                       □     PALM SPRINGS 3255 E. Tahqullz Canyon Way, Palm Springs., CA 92282
□      HEMET 880 N, Slate SI., Hemet, CA 92543                                        !El   RIVERSIDE 4050 Mein SI,, Riverside, CA 92501
0      MORENO VALLEY 13800 Heacock SI., Ste. D201,
       Moreno Valley, CA 92553
                                                                                                                                                                                    Rl°CI032
ATTORNEY OR PARTY WIYliOUl' A'tTOAN!lY (Mime, Slalt BorNumbor IIIJd Ado'Nos/                                                                    FORCOURTIJll!DIII.Y
 Carney R. Shegerlan, Esq. (SBN 150461)
Shegerian & Associates, Inc.
145 S. Spring Street, Suite 400
Los Angeles, Callfornia 90012                                                                                                           lF nlb ~JoRNlA
        TELEl'liONE.NO: (310)860~0770                         FAX NO.(Oplirmol;:   (310)860-0771
                                                                                                                              sU!)E~        88Nw\Jn:1~sERSIOE
    1:,MA1LADOREss1opt10MO:     CShegerian@shegerianlaw.com                                                                                 MAR 2 9 2021
       A'TTORNllY FOR (Nom•J:   Plainti!Tu, Ardell Mr.Duffie; Oanlel Cesario Ramirez; and De~trius Rogers

              PLAINTIFF/PETITIONER: Ardell McDuffie; Danlel Cesario Ramirez: and Demelriu& Rogers
                                                                                                                                    L. V\LLANUE~... _
                                                                                                                                                 ;
                                                                                                                             u;::!!£1   ~   -




        DEFENDANTJRESPONDENY: California Department of Corrections and Rehabilitation, et al                              CASE NUMBER:

                                                                                                                            CVftH 2101568
                                                                        CERTIFICATE OF COUNSEL

The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
specified below:

     !&I       The action arose in the zip code of:                                92860


     D         The action concerns real property located in the zip code of:


     121       The Defendant resides in the zip code of:                                    92860




For more Information on where actions shOuld be fried in the Riverside County Superior Courts, please refer
to Local Rule 1.0015 at www.riverside.courts.ca.gov.


I certify (or declare) under penalty of perjury under the laws of the State of Californla that the foregoing is
true and correct.



    Date _Ma(ch W, 2021




    Carney R. Shegerian, Esq.
        _(TYPEi OR PRINT NAME OF   El ATT_ORNEY □ PARTY MAKING lll;CI.ARATION)

              •.

                                                                                                                                                                                 Pae1of1
Ap~rov•d ror Mandol•'ll Ute                                                CERTIFICATE OF COUNSEL                                                                                loeal ftula 1.0015
Rive/side Superior Co•~                                                                                                                          oive1Jld<:,courn....,..noca1limoi!ocall11DO.olllml
/ll•CI032 [Rov. OBl15l13j
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                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                            Historic Court House
                                                    4050 Main Street, Riverside, CA 92501

Case Number:             CVRl2101568

Case Name:               MCDUFFIE vs CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION

Carney Richard Shegerian
145 SOUTH SPRING STREET, SUITE 400
LOS ANGELES, CA 90012



                                         NOTICf: OF CASE MANAGEMENT CONFERENCE

  The Case Management Conference is scheduled as follows:

                  .· ·.·,:_' ,/:.:; ;'Heaf:ina~o:abt."i?/f.~ ;\'.(/o/i:i'/f.Jear.Ufrtnfu,r~i~,:. :;~1/ >?/",\· ··:_r;ijp~i:tmehf ;'; :_ :_:·_:\\
                               06/07/2021                                   8:30 AM                               Department 6
                   Location of Hearing:
                                                 4050 Main Street, Riverside, CA 92501


  No later than 15 calendar days before the date set for the case management conference or review, each party must
  file a case management statement and serve lt on all other parties in the case. CRC, Rule 3.725,

  The plain1iff/cross~complalnant shall serve a copy of this notice on all defendants/cross-defendants who are named
  or added to the complaint and file proof of service.

  An.Y disqualification pursuant to CCP Section 170.6 shall be filed in accordance with that section.

                 !nterpreter services are available upon request. If you need an interpreter, please complete and submit the online
  [I   1))£J""   lnterpreter Request Form (https:/lrlverside.courts.ca.gov/Dlvisions/lnterpreterlnfo/rHn007.pdf} or contact the clerk's
                 office and verbally request an interpreter. All requests must be made in advance with as much noUce as possible,



  ~
                 and prior to the healing date 1n order to secure an interpreter.
                 Assistlve listening systems, computer-assisted real ttme captioning, or sign language interpreter services are
                 available upon request If at least 5 days notice Is provided. Cont~c:t the Office of the ADA Coordinator by calling
                 (951} 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30 pm or by emailing ADA@riverside.courts.ca.gov
                 to request an accommodation. A Request for Accommodations by Persons With Disabilities and Order (form MC•
                 410) must be submitted when requesting an accommodation. {Civil Code section 54.8.)
                           Case 5:21-cv-00824 Document 1 Filed 05/10/21 Page 66 of 70 Page ID #:66


                               SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                                   Historic Court House
                                                           4050 Main Street, Riverside, CA 92501

   Case Number:                       CVRl2101568

   Case Name:                         MCDUFFIE vs CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION



                                                        NOTICE OF DEPARTMENT ASSIGNMENT

          The above entitled case is assigned to the Honorable Sunshine Sykes in Department 6 for Alt Purposes.

          Any disqualification pursuant to CCP section 170.6 shall be tiled In accordance with that section.

          The court follows Callfornia Rules of Court, Rule 3.1308(a)(1) for tentative rulings {see Riverslde Superior Court
          Local Rule 33'16). Tentative Rulings for each law and motion matter are posted on the Internet by 3:00 p.m. on the
          court day immediately before the hearing at http:/hiverslde.courts.ca.gov/tentativeru!ings.shtml. If you do not have
          internet access, you may obtain the tentative ruling by telephone at (760) 904~5722.

          To request oral argument, you must (1) notify the judicial secretary at (760) 904-5722 and (2) Inform all other
          parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument Is made by
          4:30 p.m., the tentative ruling will become the final ruling on the matter effective the date of the hearing.

          The filing party shall serve a copy of this notice on an parties.



        r~l))~r-..             Interpreter services are avallable upon request. If you need an Interpreter, please complete and submit the online
                               Interpreter Request Form (https:l/riverslde.courts.ca.gov/Dlvisionsl/nterpreterlnfo/ri-in007,pdf) or contact the clerk's
                               office and verbally request an interpreter. All requests must be made in advance with as much notice as possible,
                               and prior to the hearing date in order to secure an Interpreter.


        ~
                               Assistive listening systems, computer-assisted real time caplionlng, or sign language interpreter services are
                               available upon request if at least 5 days notice ls provided. Contact the Office of the ADA Coordinator by calling
                               (951) 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30 pm or by emailing ADA@riverside.courts.ca.gov
                               to request an accommodation, A Request for Accommodations by Persons With Disabilities and Order (form MC-
                               410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)


          Dated; 04/06/2021                                                          W. SAMUEL HAMRICK JR.,
                                                                                     Court Executive Officer/Clerk of Court



                                                                                     by:   cX- ~l¼w.MI--
                                                                                           L. Villanueva, Deputy Clerk
C),N\ll)1\C\I
Ill..:,\•, i):'.!iltii2J 1 _
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                                          SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                             www.riverside.courts.ca.gov
                                     Self-represented parties: http://riverside.courts.ca.gov/selfhelp/self~help.shtml

                                          ALTERNATIVE DISPUTE RESOLUTION (ADR) -
                                                  INFORMA TJON PACKAGE


                               *** THE PLAINTIFF MUST SERVE THIS INFORMATION PACKAGE
                                           ON EACH PARTY WITH THE COMPLAINT.***

             What is ADR?
             Alternative Dispute Resolution (ADR) is a way of solving legal disputes without going to trial.
             The main types are mediation, arbitration, and settlement conferences.
             Advantages of ADR:
                !i       Faster: ADR can be done in a 1-day session within months after filing the complaint.
                4        Less expensive: Parties can save court costs and attorneys' and witness fees.
                ;:;.     More control: Parties choose their ADR process and provider.
                """      Less stressful: ADR is done informauy in private offices, not public courtrooms.
             Disadvantages of ADR:
                ~          No public trial: Parties do not get a decision by a judge or jury.
                4          Costs: Parties may have to pay for both ADR and litigation.
             Main Types of ADR:
             Mediation:           In mediatlon, the mediator listens to each person's concerns, helps them
                       evaluate the strengths and weaknesses of their case, and works with them to create a
                       settlement agreement that is acceptable to everyone. If the parties do not wish to settle
                       the case, they go to triaL
             Medfation may be appropriate when the parties:
              Kc    want to work out a solution but need help from a neutral person; or
              ,r;.  have communication problems or strong emotions that interfere with resolution; or
              ~     have a continuing business or personal relationship.
             Mediation is not appropriate when the parties:
              Li    want their public "day in court" or a judicial determinatlon on points of law or fact;
              L!    lack equal bargaining power or have a history of physical/emotional abuse,
             Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
                       . arguments to the person who decides the outcome. In Gbinding" arbitration the arbitrator's
                         decision is final; there is no right to trial. In "non~binding" arbitration, any party can request
                         a trial after the arbitrator's decision. The court's mandatory Judicial Arbitration program is
                         non-binding.




                                                                                                                         Page 1 of2

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Riverside Superior Court
rH-AOII001-!NFO [Rev. 01/0l/l.2)
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   Arbitration may be approQriate when the parties:
    &      want to avoid trial, but still want a neutral person to decide the outcome of the case.

   Arbitration is not appropriate when the parties:
    ;,:,:  do not want to risk going through both arbitration and trial (Judicial Arbitration)
    ,a:    do not want to give up their right to trial (binding arbitration)

   Settlement Conferences: Settlement conferences are similar to mediation, but the settlement officer
      usually tries to negotiate an agreement by giving strong opinions about the strengths and weaknesses
      of the case, its monetary value, and the probable outcome at trial. Settlement conferences often
      involve attorneys more than the parties and often take place close to the trial date.

                      RIVERSIDE COUNTY SUPERIOR COURT ADR REQY!Rl;MENIS.
 ADR lnformation and forms are posted on the ADR website: bttp://riverside.courts.ca.gov/adr/adr.shtml

 General Policy:
      Parties in most general civil cases are expected to participate in an ADR process before requesting a
      trial date and to parUclpate in a settlement conference before trial. (Local
      Rule 3200}

 Court-Ordered ADR:
   Certain cases valued at under $50,000 may be ordered to judicial arbitration or mediation. This order is
   usually made at the Case Management Conference. See the "Court-Ordered
   Mediation Information Sheet" on the ADR website for more information.

 Private ADR (for cases not ordered to arbitration or mediation):
    Parties schedule and pay for their ADR process without Court involvement. Parties may schedule
    private ADR at any time; there. is no need to wait until the Case Management Conference. See the
    "Private Mediation Information Sheet" on the ADR website for more information.

 BEFORE THE CASE MANAGEMENT CONFERENCE (CMC). ALL PARTIES MUST:
  1. Discuss ADR with all parties at least 30 days before the CMC. Discuss:
       <1:t Your preferences for mediation or arbitration.

       ,ii Your schedule for discovery (getting the information you need) to make good decisions about
            settling the case at mediation or presenting your case at an arbitration.
  2. File the attached "Stipulation for ADR" along with the Case Management Statement, if all parties can
     agree.
  3. Be prepared to tell the judge your preference for mediation or arbitration and the date when you
     could complete it.
                                                (Local Rule 3218)

 RIVERSJDE COUNTY ADR PROVIDERS INCLUDE:
  ,r1.   The Court's Civil Mediation Panel (available for both Court-Ordered Mediation and Private Mediation).
         See htt[r//adr.riverside.courts.ca.goy/civil/oanellst.php or ask for the list in the civil clerk's office, attorney
       · window.
  ,<!.   Riverside County ADR providers funded by DRPA (Dispute Resolution Program Act):
         Dispute Resolution Service (DRS) Riverside County Bar Association: (951) 682-1015
         Dispute Resolution Center, Communlty Action Partnership (CAP): (951) 955-4900




                                                                                                                Page 2 of 2

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n1vers1de Superior court
Rl·ADR001·1NFO [Rev. 01/01/12}
(Reformatted 06/01/16}
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                                        SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

□ alYTHE: 265 N. aroadway, Blythe, CA 92225                                   □   PALM SPRINGS 3256 Tahquilz Canyon Way, Palm Springs, CA 92262
0 MURRIETA 30755•D Auld Rd .. Sle. 1226, Murrieta, CA 92563                   0   RIVERSIDE 4050 Marn St., Riverside, CA 92501
                                                                                                                                                   RI-ADR001
ATTORNEY OR PARTY WITHOUT ATTORNEY (NINIIE>, stalE> Bar Mtmber* Addross)                                            FOR COURT USE ON/. V




            TELEPHONE NO'.                               MX NO. /OJJHonol/:
E-MAll ADDRESS (Opt/an;,/):
    ATTORNEY FOR (Name):


        PLAINTIFF/PETITIONER:

                                                                                                        CASE NUMBER:
 DEFENDANT/RESPONDENT:
                                                                                                        CASF. MANAGEMENT CONFERE:NCE OATE(S):


                                    STIPULATION FOR ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                              (CRC 3.2221 : Local Rule, Title 3, Division 2)

      Court-Ordered ADR:
      EligibiHty.for Court-Ordered Mediation or Judicial Arbitration will be determined at the Case Management
      Conference. If eligible, the parties agree to participate in:
        D     Mediation                     D    Judicial Arbitration (non-binding)

      Private AOR;
      If the case is not eligible for Court-Ordered Mediation or Judicial Arbitration, the parties agree to participate in the
      following ADR process, which they will arrange and pay for without court involvement:
        D Mediation                   D Judicial Arbitration (non-binding)
        D     Binding Arbitration           D    Other (describe):

      Proposed date to complete ADR:

    SUBMIT THIS FORM ALONG WITH THE CASE MANAGEMENT STATEMENT.


               (PRIN'T NAME OF PARTV OR ATI"ORNEV)                            (SIGNATURE OF PARTY OR ATTORNEY)
               □    · Plaintiff     D Defendant
                                                                                                                                       (DATE)




               (PRINT NAME OF PARTY OR ADORNEV)                               (SIGNATURE OF PARTY OR ATTOANEY)                          [DATE)
               D        Plaintiff   D   Defendant


               '{PRINT NAME OF PARTY OR ATTORN!:V)                            (SIGNATURE OF PARTY OR ATTORNEY)                          (01\TE)
               D        Plalntlff   D   Defendant


               (PRINT NAME OF PARTV OR ATTORNEY)                              (SIGNATURE OF PARTY OR ATTORNEY)                          (DATE)
               D        Plaintiff   D   Defendant


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                            CERTIFICATE OF SERVICE

Case Name: Ardell McDuffie, et al. v. California Department of Corrections
          and Rehabilitation, et al.
Case No.: 5:21-cv-00824

I hereby certify that on May 10, 2021, I electronically filed the following
documents with the Clerk of the Court by using the CM/ECF system:

     • NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a);
       REQUEST FOR SCREENING ORDER UNDER 28 U.S.C. §
       1915A(a); AND REQUEST FOR EXTENSION OF TIME


I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the
United States of America the foregoing is true and correct and that this
declaration was executed on May 10, 2021, at Sacramento, California.

                M. Garcia                               /s/ M. Garcia
                Declarant                                 Signature
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